20-23280-rdd        Doc 152       Filed 02/20/22 Entered 02/20/22 17:11:26                   Main Document
                                              Pg 1 of 55



Lauren Macksoud
Charles E. Dorkey, III
Sarah M. Schrag
DENTONS US LLP
1221 Avenue of the Americas
25th Floor
New York, New York 10020
Telephone: (212) 768-6700
Facsimile: (212) 768-6800
E-mail: lauren.macksoud@dentons.com
        charles.dorkey@dentons.com
        sarah.schrag@dentons.com

Robert Richards (admitted pro hac vice)
DENTONS US LLP
233 S. Wacker Drive
Suite 5900
Chicago, IL 60606
Telephone: (312) 876-8000
Facsimile: (312) 876-7934
Email: robert.richards@dentons.com

Counsel to TH Holdco LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re                                                    Case No. 20-23280 (RDD)
     85 FLATBUSH RHO MEZZ LLC, et al.,1                   Chapter 11

                           Debtors

                                                          (Jointly Administered)

                                     DISCLOSURE STATEMENT

THIS IS NOT A SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THIS
DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY


1 The Debtors (as defined) in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, include: 85 Flatbush RHO Mezz LLC. (6184); 85 Flatbush RHO Hotel LLC (5027); and 85
Flatbush RHO Residential LLC (2261).




US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26   Main Document
                                          Pg 2 of 55



COURT. THIS DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL
BUT HAS NOT YET BEEN APPROVED BY THE BANKRUPTCY COURT. THE
INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO CHANGE.
THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES
AND IS NOT A SOLICITATION OF AN OFFER TO BUY ANY SECURITIES.




                                             2
US_Active\120351770\V-15
20-23280-rdd         Doc 152           Filed 02/20/22 Entered 02/20/22 17:11:26                                   Main Document
                                                   Pg 3 of 55



                                                TABLE OF CONTENTS

                                                                                                                                    Page

I.      INTRODUCTION .............................................................................................................. 4

II.     HISTORY OF THE DEBTORS AND THE BANKRUPTCY FILING ............................ 6

        1.        History of the Debtors and Description of the Debtors’ Business .......................... 7

        2.        Senior Loan Background ........................................................................................ 7

        3.        85 Flatbush Mezz Loan Agreement and Intercreditor Agreement ......................... 7

        4.        Operations and Debt Service .................................................................................. 7

        5.        December 2020 Foreclosure Sale ........................................................................... 8

III.    POSTPETITION DEVELOPMENTS ................................................................................ 8

        1.        Debtors’ Counsel .................................................................................................... 8

        2.        Early Substantive Motions in Debtors’ Cases ........................................................ 8

        3.        Cash Collateral ........................................................................................................ 8

        4.        The Debtors’ Exclusivity Periods ......................................................................... 12

        5.        Claims Bar Date .................................................................................................... 13

        6.        Filed and Scheduled Claims.................................................................................. 14

        7.        JLL Engagement as Real Estate Advisor and Marketing of the Assets ................ 16

        8.        Debtors’ Plan ........................................................................................................ 16

IV.     THE CHAPTER 11 PLAN FILED BY TH HOLDCO .................................................... 16

        1.        Classification of Claims ........................................................................................ 17

        2.        Unclassified Claims/Administrative Claims ......................................................... 17

        3.        Priority Tax Claims ............................................................................................... 18

        4.        Professional Fee Claims ........................................................................................ 18

        5.        U.S. Trustee Fees .................................................................................................. 19

        6.        Classified Claims .................................................................................................. 19


                                                                   i
US_Active\120351770\V-15
20-23280-rdd          Doc 152        Filed 02/20/22 Entered 02/20/22 17:11:26                                      Main Document
                                                 Pg 4 of 55



        7.       MEANS FOR IMPLEMENTATION. .................................................................. 27

                 A.        The Plan Fund. .......................................................................................... 27

                 B.        Minimum Cash Distributions.................................................................... 27

                 C.        Setoffs. ...................................................................................................... 28

                 D.        The Sale. ................................................................................................... 28

                 E.        Withholding and Reporting Requirements. .............................................. 28

                 F.        Exemption From Certain Transfer Taxes. ................................................ 29

                 G.        Effectuating Documents; Further Transactions. ....................................... 29

                 H.        Avoidance Actions and Other Causes of Action. ..................................... 29

                 I.        Closing of the Chapter 11 Cases. .............................................................. 29

                 J.        Wind Down. .............................................................................................. 30

                 K.        Executory Contracts and Unexpired Leases ............................................. 30

                 L.        Conditions Precedent to the Confirmation Hearing and the
                           Effective Date. .......................................................................................... 33

                 M.        Effect of Confirmation. ............................................................................. 34

V.      MECHANICS OF HOW THE PLAN MAY BE ACCEPTED OR REJECTED ............. 37

        1.       Who May Vote ...................................................................................................... 37

        2.       Voting Procedures ................................................................................................. 38

        3.       Confirmation of the Plan ....................................................................................... 38

                 A.        Confirmation Hearing ............................................................................... 38

                 B.        Objections to Confirmation....................................................................... 39

        4.       Requirements for Confirmation of the Plan .......................................................... 39

                 A.        Best Interests Test ..................................................................................... 39

                 B.        Feasibility of the Plan ............................................................................... 40

                 C.        Acceptance by Impaired Classes .............................................................. 40

                 D.        Cramdown ................................................................................................. 40

                                                                  ii
US_Active\120351770\V-15
 20-23280-rdd             Doc 152           Filed 02/20/22 Entered 02/20/22 17:11:26                                   Main Document
                                                        Pg 5 of 55



 VI.       U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN............................ 41

 VII.      ALTERNATIVES TO THE PLAN .................................................................................. 45

 VIII.     RETENTION OF JURISDICTION .................................................................................. 46

 IX.       CONCLUSION ................................................................................................................. 49

 EXHIBIT A Chapter 11 Plan Filed by TH Holdco..........................................................................

 EXHIBIT B Liquidation Analysis ...................................................................................................

  EXHIBIT C Summary of Claims by Estate (Both Scheduled Claims and Filed Proofs of
      Claim) ...................................................................................................................................

 EXHIBIT D Redline Showing Differences Between Chapter 11 Plan Filed by TH Holdco
on February 20, 2022 and Chapter 11 Plan filed by the Debtors on November 24, 2021




                                                                       iii
 US_Active\120351770\V-15
20-23280-rdd        Doc 152        Filed 02/20/22 Entered 02/20/22 17:11:26                    Main Document
                                               Pg 6 of 55



I.      INTRODUCTION

        On December 18, 2020 (the “Petition Date”), the Debtors each filed a voluntary petition
pursuant to Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)2 in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).
Pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, the Debtors continue to operate their
respective business and manage their respective assets as debtors-in-possession. As of the date
hereof, no creditors’ committee has been appointed in these Chapter 11 Cases.

        TH Holdco, LLC (“TH Holdco”) holds debt secured by the assets of 85 RHO Hotel and
85 RHO Residential, which debt was acquired on January 28, 2022 as discussed below. TH
Holdco files this Disclosure Statement pursuant to § 1125 of the Bankruptcy Code. This
Disclosure Statement is provided to all of the known creditors and parties in interest of any of the
Debtors in order to disclose information deemed material, important, and necessary for the
creditors to arrive at a reasonably informed decision in exercising their rights to vote on TH
Holdco’s proposed Plan, filed concurrently herewith. A copy of the Plan accompanies this
Disclosure Statement and is attached hereto as Exhibit A. Capitalized terms used but not defined
in this Disclosure Statement shall have the meaning for those terms set forth in the Plan.

        The Debtors have also filed their own Chapter 11 plan on November 24, 2021 [Docket
No.142] (the “Debtors’ Plan”) but to date, have not filed a disclosure statement related to the
Debtors’ Plan. Like the Plan proposed by TH Holdco, the Debtors’ Plan also contemplates an
auction for the Hotel Property and the Residential Property as the means to effectuate the Plan. A
redline showing the differences between the Debtors’ Plan and the Plan proposed by TH Holdco
is attached as Exhibit D to this Disclosure Statement (the “Redline Comparison of the Plans”).

        TH Holdco asserts that its Plan is better than the Debtors’ Plan because in TH Holdco’s
view:

        1.     If TH Holdco’s Plan is confirmed and its credit bid for the Hotel and Residential
Unit closes, TH Holdco will fund an additional $200,000 cash (the “TH Holdco Unsecured Claim
Dedicated Fund”) that will be dedicated to pay the Allowed General Unsecured Creditors of 85
Flatbush Hotel and 85 Flatbush Residential a pro rata recovery, based on the total amount of
Allowed General Unsecured Claims in Classes 6 and 8, in addition to any additional Plan Funding
available to make a distribution to them. Further TH Holdco may hold a substantial deficiency
claim but is prepared to contribute its distribution on any such deficiency claim from the TH
Holdco Unsecured Claim Dedicated Fund if it acquires the Hotel Property and/or Residential
Property via the TH Holdco Credit Bid, which would increase the percentage recovery for other
General Unsecured Creditors in the 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential
Estates. This Fund shall be available only if TH Holdco closes the Sale Transaction as the
successful acquirer of either the Hotel Property and the Residential Property or both Properties,
unless otherwise agreed by TH Holdco in its sole discretion. TH Holdco asserts that is unlikely
there will be any funds for distribution to those Allowed General Unsecured Creditors under the

2 Unless otherwise specifically stated, all references to “§” or “section” herein are to a section of the Bankruptcy
Code; all references to “Bankruptcy Rule” are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”);
all references to “Local Rule” are to the Local Bankruptcy Rules for the Southern District of New York (the “Local
Rules”).


US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 7 of 55



Debtors’ Plan based on expected results of the Auction and the amount of TH Holdco’s secured
claim.

       2.     Chapter 11 Administrative Expenses and Priority Claims to the extent ultimately
Allowed need to be paid in order to meet the standards to confirm a Chapter 11 plan. TH Holdco’s
Plan provides additional cash consideration in addition to the TH Holdco Credit Bid in order to
pay those expenses. TH Holdco asserts it is unclear whether there will be sufficient unencumbered
cash on hand under the Debtors’ Plan to pay Chapter 11 Administrative Expenses and Priority
Claims. TH Holdco has not agreed to any funding or carve out from its lien on the Hotel Property
and Residential Property or cash proceeds of its collateral to pay those Chapter 11 Administrative
Expense or Priority Claims under the Debtors’ Plan. Therefore, TH Holdco asserts that the
Debtors’ Plan may not be feasible or meet other Chapter 11 confirmation standards.

        3.      As shown in the Redline Comparison of the Plans, the Debtors’ Plan contains
certain provisions which TH Holdco asserts may not be confirmable. For instance, the Debtors’
Plan is characterized as a plan of reorganization for the Debtors and provides for a discharge of
the Debtors, while TH Holdco asserts that both plans are in fact sale plans followed by a
liquidation/dissolution of the Debtors, and therefore, the Debtors do not meet the standards to
obtain a discharge. [See Section 11.5 in the Redline Comparison of the Plans]. Likewise, the
Debtors’ Plan provides for releases; whereas, the TH Holdco’s Plan intentionally omits that
provision. [See Section 11.9 in the Redline Comparison of the Plans].

        4.      TH Holdco asserts that claims processing in the 85 Flatbush RHO Hotel and 85
Flatbush RHO Residential cases will be completed under its Plan on or about the Effective Date
of the Plan, allowing for quicker distributions to creditors under its Plan rather than the Debtors’
Plan, which allows a much longer period for claims objections and claims processing and for
related distribution holdbacks.

        5.      TH Holdco asserts that there are no identified Avoidance Actions and Causes of
Action here and therefore, there is no reason for ongoing Debtor entities or alternatively, any
liquidating trust after the Effective Date of a Chapter 11 plan. Therefore, TH Holdco asserts its
Plan will not require material funding for post-Effective Date administration and that the Chapter
11 Cases can be quickly closed. The Plan contemplates that the Debtors shall be dissolved
promptly after the Effective Date, with the Disbursing Agent to hold any funds for any Disputed
Claims or other winddown expenses not yet paid or pre-paid. In contrast, the Debtors’ Plan seems
to contemplate the Debtors continuing in a postpetition form for many months and perhaps longer
than that.

        [PENDING APPROVAL: Pursuant to § 1125 of the Bankruptcy Code, after a hearing,
and a notice to all creditors and other interested parties, TH Holdco has obtained an order of the
Bankruptcy Court dated March __, 2022, approving this Disclosure Statement for submission to
the holders of claims against, or interests in, the Debtors and setting the date of the hearing for the
Bankruptcy Court to consider confirmation of the Plan. [Docket No. __ ].

       The Bankruptcy Court has set ______________, 2022, at 10:00 a.m. (prevailing Eastern
Time) as the date for a hearing on the confirmation of the Plan (the “Confirmation Hearing Date”).]



                                                  5
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                          Pg 8 of 55



        The purpose of this Disclosure Statement is to inform all claimholders and interest holders
of information that may be deemed material, important, and necessary for such claimholders and
interest holders to make an informed judgment about the Plan, and to vote for the acceptance or
rejection of the Plan, where voting is necessary. Solicitation of acceptances from classes that are
not entitled to vote on the Plan, either because such class is not impaired or is conclusively deemed
to have accepted or rejected the Plan, is not required.

        The approval by the Bankruptcy Court of this Disclosure Statement does not constitute a
recommendation as to the merits of the Plan, only that the Disclosure Statement contains “adequate
information” from which creditors may form an opinion as to the merits of the Plan. Each creditor
and interest holder should read the Disclosure Statement and the Plan in their entirety.

II.     HISTORY OF THE DEBTORS AND THE BANKRUPTCY FILING

        85 Flatbush RHO Mezz LLC (“85 Flatbush RHO Mezz”) is the 100% owner of 85 Flatbush
RHO Hotel LLC (“85 Flatbush RHO Hotel”) and 85 Flatbush RHO Residential LLC (“85 Flatbush
RHO Residential”). The property is located at 85 Flatbush Extension, Brooklyn, New York (the
“Property”). The Property is a 132,641 square foot, twelve-story, mixed-use property consisting
of a 174-room boutique hotel on the first six (6) floors known as the Tillary Hotel Brooklyn, a
58,652 square foot 64-unit luxury multi-family building and a 5,642 square foot parking garage
(together, the “Hotel Property”). The residential component of the Property has nine (9) studios,
twenty-six (26) one-bedroom units, and twenty-nine (29) two-bedroom units (together, the
“Residential Property”). Of the sixty-four (64) units, currently, up to five (5) are
occupied. [Docket No. 103]. The Debtors intentionally reduced residential occupancy as part of
their business plan to convert the residential units to condominiums.

         There will be an auction for the sale of the Hotel Property and/or Residential Property to
be held in accordance with the Sale and Bid Procedures once those procedures have been approved
by the Bankruptcy Court. TH Holdco intends to purchase the Residential Property and the Hotel
Property through an Asset Purchase Agreement, in form and substance reasonably acceptable to
TH Holdco, a form of which will be included in the Plan Supplement filed by TH Holdco, via a
credit bid. The opening bid is anticipated to be the TH Holdco Credit Bid plus the TH Holdco
Additional Consideration and TH Holdco Unsecured Claim Dedicated Fund. TH Holdco’s credit
bid for all of the assets, subject to the lien held by TH Holdco, will be in the aggregate amount of
at least $85 million, to be allocated among such encumbered assets as announced by TH Holdco
at or prior to the hearing on the Disclosure Statement or such higher and better bid as TH Holdco
may thereafter submit. TH Holdco intends to submit a single credit bid for both of the Hotel
Property and the Residential Property. If a cash bid is approved pursuant to the Sale and Bidding
Procedures for just the Hotel Property or just the Residential Property as a separate lot, then TH
Holdco shall indicate the amount of the TH Holdco Credit Bid for the applicable Property it is
acquiring through the Credit Bid. TH Holdco does not anticipate any other bidder will bid more
than the full amount of the secured claim held by TH Holdco (including accruing postpetition
interest, costs and fees) and therefore, that TH Holdco will acquire the Hotel and Residential
Property via its credit bid.




                                                 6
US_Active\120351770\V-15
20-23280-rdd         Doc 152         Filed 02/20/22 Entered 02/20/22 17:11:26                        Main Document
                                                 Pg 9 of 55



         1.       History of the Debtors and Description of the Debtors’ Business

        85 Flatbush RHO Hotel owns and operates the Tillary Hotel Brooklyn, a 174 room
boutique hotel located at 85 Flatbush Avenue Extension, Brooklyn, New York at the intersection
of Tillary Street and Flatbush Extension, just off the base of the Manhattan Bridge. The Property
is a 12-story mixed use property consisting of the hotel, a sixty-four (64) unit luxury multifamily
building and a parking garage. The hotel operates from the first six (6) floors of the property. The
hotel is a full service upper upscale boutique hotel which also features a business center, fitness
center, meeting space, restaurant, café and bar. 85 Flatbush RHO Hotel is the fee owner of the six
(6) floors it occupies, and 85 Flatbush RHO Residential owns the other six (6) floors.

         2.       Senior Loan Background

        The Property was acquired on September 19, 2019. The original senior lender, 85 Flatbush
Avenue 1, LLC (“85 Flatbush Avenue”), through an assignment of mortgage from CMTG JP
Finance, extended to Hotel and Residential a loan in the original principal amount of $57,500,000
plus a new advance in the amount of $12,500,000 for a total principal loan amount of $70,000,000
evidenced by a consolidated, amended and restated note and consolidated, amended and restated
mortgage and security agreement, which was assigned to TH Holdco on January 28, 2022 (the
“TH Holdco Prepetition Loan Agreement”). The TH Holdco Prepetition Loan Agreement term
was for 24 months, with a maturity date of October 1, 2021. That maturity date has not been
extended.

         3.       85 Flatbush Mezz Loan Agreement and Intercreditor Agreement

       On September 19, 2019, 85 Flatbush Mezz LLC (“85 Flatbush Mezz”) advanced a loan to
85 Flatbush RHO Mezz in the original principal amount of $6,000,000 secured by the 85 Flatbush
Hotel Pledge Agreement and 85 Flatbush Residential Pledge Agreement (the “85 Flatbush Mezz
Loan Agreement”).

        85 Flatbush Avenue as the original senior lender and 85 Flatbush Mezz as the mezzanine
lender are party to an Intercreditor Agreement dated September 19, 2019 and amended as of July
23, 2020 (the “Intercreditor Agreement”) which set forth certain rights between the two lenders.
85 Flatbush Avenue’s interest and rights under the Intercreditor Agreement are now assigned to
TH Holdco.

         4.       Operations and Debt Service

        85 Flatbush RHO Hotel made regular monthly payments of interest on the TH Holdco
Prepetition Loan Agreement until February 2020. The COVID-19 pandemic forced the Hotel
Property to close for the entire month of April 2020. From May 15, 2020 until June 30, 2020, the
Hotel Property provided homeless shelter services pursuant to an agreement with the NYC
Department of Homeless Services, which provided the Hotel Property with some operating
income, but did not seek approval of that agreement from the Bankruptcy Court.3 As of July 15,

3 To the extent any postpetition agreements were entered into by any of the Debtors outside the ordinary course of
their approval and are still in effect, TH Holdco reserves the right to seek a finding that they are void or voidable under
§ 549 of the Bankruptcy Code and other applicable law.

                                                            7
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                          Pg 10 of 55



2020, the Hotel Property reopened for business but with a substantially reduced occupancy rate
and the closure of its fitness center, meeting room and food service. The Hotel Property currently
continues to operate, with twenty-two (22) employees on payroll, including those essential to
maintaining and securing the Hotel Property. The Debtors did not pay their current debt service
obligations to their secured lenders.

        5.       December 2020 Foreclosure Sale

        Prior to the bankruptcy filing, a Uniform Commercial Code (“UCC”) foreclosure auction
of the pledge equity interest was scheduled by 85 Flatbush Mezz for December 15, 2020 and then,
at the Debtors’ request, was rescheduled on two occasions with a final sale date of December 18,
2020. On December 18, 2020, the Debtors filed their Chapter 11 petitions and the automatic stay
prevented the foreclosure sale from going forward.

        Pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code, the Debtors continues to operate
their business and manage their assets as debtors-in-possession. As of the date hereof, no creditors’
committee has been appointed in these Chapter 11 Cases.

III.    POSTPETITION DEVELOPMENTS

        1.       Debtors’ Counsel

      After the Filing Date, the Debtors filed an application to retain and employ Robinson Brog
Leinwand Greene Genovese & Gluck P.C. as its bankruptcy counsel [Docket No. 40], which the
Bankruptcy Court approved thereafter [Docket No. 62].

        2.       Early Substantive Motions in Debtors’ Cases

       On December 18, 2020, the Debtors filed a Motion for Approval of Adequate Assurance of
Payment to Utility Services and Continuation of Service. [Docket No. 3]. The Bankruptcy Court
entered an interim order granting the Motion on December 28, 2020, and a final order on January
6, 2021. [Docket Nos. 22 and 29].

       On December 20, 2020, the Debtors filed a Motion to Authorize Debtors' to Pay Wages
and Compensation and for Financial Institutions to Honor and Process Checks and Transfers
Related to Such Obligations. [Docket No. 6]. The Bankruptcy Court entered an interim wage
order on December 28, 2020, and a final wage order on January 13, 2021. [Docket Nos. 22 and
32].

        3.       Cash Collateral

       On December 20, 2020, 85 Flatbush RHO Hotel filed a Motion to Use 85 Flatbush
Avenue’s Cash Collateral. [Docket No. 5]. On December 28, 2020, the Bankruptcy Court entered
an Interim Order Granting Debtors Motion to Use Cash Collateral. [Docket No. 21]. The
Bankruptcy Court entered a second Interim Cash Collateral Order on January 19, 2021. [Docket
No. 34]. On March 29, 2021, the Court entered a Final Consent Order Authorizing the Use of
Cash Collateral and Granting Adequate Protection between the Debtors and 85 Flatbush Avenue


                                                 8
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                            Pg 11 of 55



[Docket No. 64] (the “Agreed Final Cash Collateral Order”). The Agreed Final Cash Collateral
Order is now a Final Order.

       The Agreed Final Cash Collateral Order provided the following regarding the
acknowledgements and rights of 85 Flatbush Avenue as senior lender (defined in the Agreed Final
Cash Collateral Order as “Lender”), which rights are now held by TH Holdco as successor to 85
Flatbush Avenue:

                         a.     “Debtors acknowledge and agree that the Loan Documents are legal,
                 valid, and binding obligations of the Debtors, and that the Loan Documents are
                 enforceable against the Debtors in accordance with their respective terms.”

                         b.         “Debtors acknowledge and agree that the Lender has duly perfected,
                 valid, non-avoidable, first priority liens on and security interests in its pre-petition
                 collateral . . . to secure the obligations under the Loan Documents.”

                          c.     “Debtors acknowledge and agree that the Pre-Petition Obligations,
                 Pre-Petition Liens, and Loan Documents are not subject to counterclaims, rights of
                 offset, claims, or other defenses of any kind.”

                        d.      “Debtors acknowledge and agree that all cash, accounts receivable,
                 and other proceeds in the Debtors custody, possession, or control as of the Petition
                 Date, and all cash, accounts receivable, and other proceeds coming into the
                 Debtors’ possession or control after the Petition Date, constitute Cash Collateral in
                 which the Lender has an interest.”

                        e.       “Debtors and the Lender have agreed to the Debtors’ use of Cash
                 Collateral to operate their respective property and to provide adequate protection to
                 the Lender in accordance with the terms set forth subject to the Bankruptcy Court’s
                 approval and entry of this Final Order.”

                         f.      “Notwithstanding anything else herein to the contrary in this Final
                 Order, should the Debtors have, for any month, on a cash basis, an excess of cash
                 receipts less the expenses set forth in the Approved Budget (including any
                 permitted variance) from operation of the Property (such excess described as the
                 ‘Net Profits’), the Debtors will pay the Net Profits for that month in excess of
                 $10,000 to the Lender up to the amount of monthly interest accruing on the note
                 underlying the Lender’s claim as adequate protection payments, even if such
                 amounts are or were in the Approved Budget, which payments shall be applied only
                 to the Lender’s allowed secured claim.”

                          g.     “Cash Collateral shall not be used to pay the costs of (a)
                 investigating whether any claims or causes of action exist against the Lender or (b)
                 litigating any claim or cause of action against the Lender, except that Cash
                 Collateral in an amount not to exceed $15,000 in the aggregate may be used to pay
                 the allowed fees and expenses of counsel (with the exception of counsel to the



                                                    9
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 12 of 55



                 Debtors) authorized by the Court to investigate the Pre-Petition Obligations, Pre-
                 Petition Liens, and Loan Documents.”

                         h.       “Lender is granted, and the Debtors hereby grant to the Lender, first
                 priority, valid, and perfected replacement liens on and security interests in all the
                 Debtors’ now existing and hereafter acquired real and personal property and assets
                 and all cash and non-cash proceeds thereof (collectively, ‘Post-Petition Collateral’),
                 which first priority, valid, and perfected replacement liens and security interests
                 shall be deemed to be effective nunc pro tunc from the Petition Date without further
                 action by the Lender, except that the replacement liens and security interests shall
                 not attach to any claims or causes of action arising under 11 U.S.C. §§ 544, 545,
                 547, 548, or 549 or its proceeds, excluding recoveries under 11 U.S.C. § 549 on
                 account of Post-Petition Collateral. Any Diminution in the value of the valid,
                 perfected and enforceable Pre-Petition Liens in favor of the Lender securing the
                 Pre-Prepetition Obligations caused by the Debtors’ use of the Lender’s Cash
                 Collateral that is not compensated by Post-Petition Collateral shall constitute a cost
                 and expense of administration in the bankruptcy cases in accordance with
                 § 503(b)(1) of the Bankruptcy Code and shall have a superpriority status under
                 § 507(b) of the Bankruptcy Code and thus will be paid ahead of all other costs and
                 expenses of administration of the bankruptcy cases, including, without limitation,
                 those specified in §§ 503(b) or 507(a) of the Bankruptcy Code; subject only to: (i)
                 the fees of the United States Trustee under 28 U.S.C. § 1930, statutory interest
                 thereon, and fees of the Clerk of the Court; (ii) all accrued and unpaid claims for
                 unpaid fees, costs, and expenses incurred at any time before the Termination Date
                 (as defined below), payable to estate professionals, retained by the Debtors whose
                 retention is approved by the Bankruptcy Court pursuant to §§ 327 or 328 of the
                 Bankruptcy Code (“Professional Persons,” and the fees, costs, and expenses of
                 Professional Persons, the “Professional Fees”), to the extent that such Professional
                 Fees are allowed by the Bankruptcy Court at any time (i.e., before or after the
                 Termination Date) on an interim or final basis; (iii) all Professional fees incurred
                 on or after the Termination Date by Professional Personals and allowed by the
                 Bankruptcy Court at any time whether before or after the Termination Date whether
                 allowed by an interim order or otherwise, not to exceed $75,000 (collectively, items
                 (ii) and (iii) are hereinafter referred to as the ‘Carve-Out’) and (iv) no more than
                 $15,000 for the commissions, fees and expenses of any Chapter 7 trustee appointed
                 in these cases, provided, however, that none of those funds may be used to
                 challenge or object to Lender’s claims and liens, and provided further, that Lender
                 has no liability for, or obligation to advance such funds. For the avoidance of doubt,
                 the Carve Out will be senior to any claims arising under or relating to and liens
                 securing the Lender’s Collateral including, without limitation, any administrative
                 or superpriority claims and all forms of adequate protection liens or security
                 interests.”

                        i.      “The postpetition replacement liens and security interests granted to
                 the Lender pursuant to this Final Order are automatically perfected by operation of
                 law upon the Court’s entry of this Final Order nunc pro tunc from the Petition Date
                 without further action by the Lender. The Lender may, but shall not be required to,

                                                  10
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 13 of 55



                 file any Uniform Commercial Code financing statements and record any additional
                 documents in any jurisdiction or take any other or further action to validate or
                 perfect the security interests and liens granted to it pursuant to and in accordance
                 with this Final Order. If the Lender deems it necessary or convenient, the Debtors
                 shall execute and deliver to the Lender, or shall have executed and delivered to the
                 Lender, all in form and substance reasonably satisfactory to the Lender, any other
                 agreements, instruments, documents, or writings to evidence the terms of this Final
                 Order, the use of Cash Collateral, and/or the Lender’s liens and security interests,
                 and the Lender may request from time to time the execution and delivery of
                 Uniform Commercial Code financing statements, continuation statements,
                 amendments to financing statements, and any other agreements, instruments, and/or
                 documents relating to the use of Cash Collateral and/or the security interests and
                 liens granted hereunder. The Debtors hereby authorize the execution and filing of
                 all financing statements, amendments, continuations, and other agreements,
                 instruments, and documents desired by the Lender or the perfection of the security
                 interests and liens granted hereunder, and Debtors agree to and the Lender shall
                 receive a lifting of the automatic stay for the limited purpose of carrying out the
                 purposes of this Section. Furthermore, the Debtors irrevocably authorize the filing
                 of a carbon, photographic or other reproduction of this Final Order as a financing
                 statement and agree that such filing is sufficient as a financing statement subject to
                 applicable state law.

                        j.      “All the liens on and security interests in the Post-Petition Collateral
                 granted under this agreement are deemed to be effective on and after the Petition
                 Date, will continue in full force and effect, and will survive the Termination Date .
                 . .”

                         k.     “[T]he Debtors may use Cash Collateral on an emergency basis, in
                 an amount not to exceed, in any one month, the sum of $2,500 per month, except
                 that the Debtors must notify the Lender within 24 hours after the Debtors make any
                 such expenditures. The Debtors shall also promptly provide the Lender with
                 appropriate documentation related to such emergency expenditures. The Debtors
                 must obtain the Lender’s permission before making or incurring any obligation or
                 making or incurring any emergency expenditures from the Cash Collateral in excess
                 of the $2,500 per month allowance.”




                                                   11
US_Active\120351770\V-15
20-23280-rdd        Doc 152      Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                             Pg 14 of 55



                         l.      “The Lender has provided the Debtors with as payoff statement
                 containing the amounts set forth in this paragraph. The Lender represents that the
                 calculations set forth on the payoff statement are true and correct. The Debtors and
                 the Lender agree that as of Petition Date, the principal amount of the Lender’s
                 claims against the estates of the Debtors is $85,158,815.99 (‘Lender Claim’), which
                 claim consists of these components:

                           Unpaid principal balance $70,000,000.00
                           Contract interest to 2/29/20 $496,222.22
                           Default Interest to 12/18/20 $13,673,333.32
                           (less) Interest Paid $(1,201.91)
                           Protective Advance for Taxes $247,849.21
                           Interest on Protective Advance $25,115.39
                           Legal Fees $28,605.00
                           Late Fee $24,751.00
                           Entity Fees $2,641.74
                           Exit Fee $525,000.00
                           Servicing Fee $136,500.00

                 The Lender’s Claim will continue to accrue interest and additional charges pursuant
                 to and under the Loan Documents, subject to the next sentence. The extent to which
                 the Lender Claim is a secured claim will be determined by the Court based on the
                 value of the Lender’s Collateral, and is subject to § 506(a) and (b) of the Bankruptcy
                 Code, and to applicable non-bankruptcy law, provided however that the Debtor
                 acknowledges and agrees that the Lender has a valid and enforceable lien on the
                 Property.”

                         m.       “This Final Order: (a) shall not limit the amount of the Lender’s
                 Claim against the Debtors and the guarantor, as well as any portion of that claim
                 for interest, fees, costs, and expenses; and (b) does not constitute a waiver of any
                 rights of the Lender under the Bankruptcy Code or otherwise including any rights
                 for adequate protection, relief from the stay, and to object to a plan and disclosure
                 statement, except as specifically provided otherwise here.”

                        n.      “The Debtors acknowledge that the Loan Documents (as modified
                 and supplemented here and to the extent enforceable under the Bankruptcy Code)
                 will constitute valid, binding, and enforceable obligations of the Debtors in
                 accordance with their terms. The Debtors are authorized to do and perform all acts,
                 to make, execute, and deliver all agreements, assignments, instruments, and
                 documents to give effect to any of the terms of this Final Order.”

        4.       The Debtors’ Exclusivity Periods

      The Debtors’ exclusive right to file a Chapter 11 plan was set to expire on April 19, 2021.
On March 31, 2021, the Debtors filed a Motion to Extend the Exclusivity Period for Filing a
Chapter 11 Plan and Disclosure Statement [Docket No. 65] (“First Motion to Extend Exclusivity


                                                   12
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                          Pg 15 of 55



Period”). On June 25, 2021, the Court held a hearing on the First Motion to Extend the Exclusivity
Period, wherein it granted relief in the Debtors’ favor and overruled all objections. [Docket No.
99]. On August 17, 2021, the Debtors filed a Second Motion to Extend the Exclusivity Period for
Filing a Chapter 11 Plan and Disclosure Statement [Docket No. 103] (“Second Motion to Extend
Exclusivity Period”). The objections to the Second Motion to Extend Exclusivity Period were
resolved through an agreed order summarized below.

       On September 21, 2021, the Court entered an Order Extending Exclusive Right to File a
Plan of Reorganization and to Solicit Acceptances for the Debtors’ Plan and For Related Relief
[Docket No. 125] (the “Final Exclusivity Order”). The Final Exclusivity Order extended Debtors’
exclusive right to file a Chapter 11 plan through November 24, 2021 (the “Exclusivity Period”),
and provided that if the Debtors filed a Chapter 11 plan during the Exclusivity Period, they would
have the exclusive right to solicit acceptances for such plan through January 24, 2022 (the
“Acceptance Period”).

       On November 24, 2021, the Debtors filed their Plan of Reorganization of 85 Flatbush RHO
Mezz LLC, 85 Flatbush RHO Hotel LLC, and 85 Flatbush RHO Residential LLC [Docket No. 142]
(the “Debtors’ Plan”); however, to date, the Debtors have not filed a disclosure statement or
otherwise solicited acceptance of the Debtors’ Plan or sought a further extension of that
Acceptance Period. Therefore, the Exclusivity Period and the Acceptance Period have now both
expired.

        5.       Claims Bar Date

        On March 12, 2021, the Debtors filed a Motion to Establish a Deadline to File Proofs of
Claim. [Docket No. 55]. In accordance with Bankruptcy Rule 3003(c)(3), by order dated March
15, 2021 [Docket No. 58] (the “Bar Date Order”), the Bankruptcy Court fixed April 21, 2021 (the
“Bar Date”) as the last day by which general creditors would be permitted to file claims in the
Debtors’ Chapter 11 Cases, and June 16, 2021 as the last day for governmental units to file claims
in the Debtors’ Chapter 11 Cases (the “Governmental Bar Date”). On May 26, 2021, the Debtors
filed an Amended Schedule E/F scheduling additional creditors who may have claims against the
Debtors. [Docket Nos. 80 and 81]. Pursuant to the Bar Date Order, the deadline to file a proof of
claim for creditors scheduled on Amended Schedule E/F was extended to June 28, 2021
(“Supplemental Bar Date”). Pursuant to Bankruptcy Rule 3003(c)(2), any creditor whose claim
had not been scheduled by the Debtors or was scheduled as disputed, contingent, or unliquidated
and has failed to file a proof of claim on or before the Bar Date, the Supplemental Bar Date, or the
Governmental Bar Date, as the case may be, is deemed not to be a creditor with respect to such
claim for purposes of voting on and receiving a distribution under a Chapter 11 plan.




                                                13
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26          Main Document
                                            Pg 16 of 55



        6.       Filed and Scheduled Claims

      A listing by Estate of all of the filed proofs of claim and scheduled claims is attached as
Exhibit C to this Disclosure Statement. An overview of the filed claims follows:

        i.       Hotel Claims

Secured Claims

        TH Holdco filed a secured claim in the amount of $85,158,815.99, not including
postpetition interest and other costs, against 85 Flatbush RHO Hotel. 85 Flatbush RHO Hotel
scheduled this claim, originally held by 85 Flatbush Avenue, in the amount of $70,000,000.00,
and the Agreed Final Cash Collateral Order acknowledged a total amount owed of $85,158,815.99.
To the extent that the value of the senior mortgages collateral exceeds this total prepetition claim
amount, then TH Holdco is entitled to postpetition accrued amounts as follows as of February 20,
2022 (with postpetition interest, fees and costs continuing to accrue after the filing of this
Disclosure Statement):



 Nature of Postpetition Claims                     Postpetition Amount

 Postpetition Interest                             At Least $12,500,000

 Attorney’s Fees and Costs                         To be Provided at Disclosure Statement
                                                   Hearing

 Pre-Payment Fees                                  To be Provided at Disclosure Statement
                                                   Hearing


Chapter 11 Postpetition Administrative Claims and Priority Claims

        According to the Monthly Operating Reports filed as of November 30, 2021, postpetition
administrative claims in 85 Flatbush RHO Hotel total $947,715.13. The Debtors may assert that
they are jointly and severally liable for professional fees in the amount of $218,030.50. There may
be additional Chapter 11 professional fees and administrative expenses which may be accrued or
asserted.

        Certain priority tax claims were also filed against 85 Flatbush RHO Hotel. The New York
State Department of Labor filed a claim in the amount of $0.00 pursuant to § 507(a) of the
Bankruptcy Code in the event future liabilities become due. The New York State Tax Department
filed two claims in the amounts of $88,004.45 and $641,680.18. 85 Flatbush RHO Hotel did not
schedule any priority unsecured claims.




                                                14
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 17 of 55



Unsecured Claims

       85 Flatbush RHO Hotel scheduled a total of $1,731,153.91 in nonpriority unsecured
claims. Together with filed proofs of claim, there are a total of $2,570,342.13 in nonpriority
unsecured claims asserted against 85 Flatbush RHO Hotel. See Exhibit C for a detailed listing of
the scheduled claims and filed proofs of claim for each Estate.

        ii.      Residential Claims

Secured Claims

       TH Holdco filed a secured claim in the amount of $85,158,815.99, not including
postpetition interest and other costs, against 85 Flatbush RHO Residential. 85 Flatbush RHO
Residential scheduled this claim, originally held by 85 Flatbush Avenue, in the amount of
$70,000,000.00.

Chapter 11 Postpetition Administrative Claims and Priority Claims

        The Debtors may assert that they are jointly and severally liable for professional fees in the
amount of $218,030.50. There may be additional Chapter 11 professional fees and administrative
expenses which may be accrued or asserted. 85 Flatbush RHO Residential did not schedule any
priority unsecured claims, and no proofs of claim asserting priority claims were filed against 85
Flatbush RHO Residential.

Unsecured Claims

       85 Flatbush RHO Residential scheduled a total of $766,664.00 nonpriority unsecured
claims. Together with filed proofs of claim, there are a total of $1,175,320.00 nonpriority
unsecured claims against 85 Flatbush RHO Residential. See Exhibit C for a detailed listing of the
scheduled claims and filed proofs of claim for each Estate.

        iii.     Mezz Claims

Secured Claims

       To date, filed secured claims against 85 Flatbush RHO Mezz total $7,787,611.90. Flatbush
Mezz LLC filed a secured claim in the amount of $7,787,500.00. The Debtors scheduled this
claim in the amount of $6,000,000.00. The New York City Department Finance filed a secured
claim in the amount of $111.90.

Chapter 11 Postpetition Administrative Claims and Priority Claims

        The Debtors may assert that they are jointly and severally liable for professional fees in the
amount of $218,030.50. The New York City Department of Finance filed an administrative
priority claim in the amount of $1,119,193.86 in the 85 Flatbush RHO Mezz case. There may be
additional Chapter 11 professional fees and administrative expenses which may be accrued or
asserted.



                                                 15
US_Active\120351770\V-15
20-23280-rdd        Doc 152       Filed 02/20/22 Entered 02/20/22 17:11:26                    Main Document
                                              Pg 18 of 55



       85 Flatbush RHO Mezz did not schedule any priority unsecured claims, and no proofs of
claim asserting priority claims were filed against 85 Flatbush RHO Residential.

Unsecured Claims

        85 Flatbush RHO Mezz scheduled $766,331.00 nonpriority unsecured claims. Together
with filed proofs of claim, there are $1,166,564.88 nonpriority unsecured claims against 85
Flatbush RHO Mezz. See Exhibit C for a detailed listing of the scheduled claims and filed proofs
of claim for each Estate.

        7.       JLL Engagement as Real Estate Advisor and Marketing of the Assets

        On September 7, 2021, the Debtors filed an Application for an Order Authorizing the
Retention of Real Estate Advisor, to permit JLL to arrange a joint venture, financing or
recapitalization, sell, or otherwise dispose of the Hotel Property. [Docket No. 114]. On October
12, 2021, the Court entered an Order Authorizing Retention of JLL as Real Estate Advisor.
[Docket No. 133].

        Upon information and belief, JLL has prepared marketing materials and established a data
room for due diligence by potential bidders and has been soliciting offers on the assets for several
months now. Upon information and belief, no offer which would be sufficient to pay or refinance
the obligations on the senior mortgage debt in full has been communicated to TH Holdco or 85
Flatbush Avenue as the predecessor holder of the senior mortgage debt.

        8.       Debtors’ Plan

        On November 24, 2020, the Debtors filed their Debtors’ Plan. Like the Plan proposed by
TH Holdco, the Debtors’ Plan envisions an auction pursuant to Sale and Bid Procedures approved
by the Bankruptcy Court including the rights of the holder of the senior mortgage debt to credit
bid. The Debtors’ Plan then envisions a distribution of any cash proceeds from the sale of the
assets or cash on hand at the Debtors pursuant to the priority waterfall set forth in the Debtors’
Plan. While the Debtors’ Plan provides for the possibility that General Unsecured Creditors in the
85 Flatbush RHO Hotel and 85 Flatbush RHO Residential Chapter 11 Cases or creditors in the 85
Flatbush RHO Mezz case could receive a distribution if there was sufficient funds in the Plan
Fund, TH Holdco asserts that there was no assurance there would in fact be any such proceeds
available for distribution to those classes. A redline showing differences between the Debtors’
Plan and the Plan proposed by TH Holdco is attached hereto as Exhibit D.

IV.     THE CHAPTER 11 PLAN FILED BY TH HOLDCO4

    THIS SECTION OF THIS DISCLOSURE STATEMENT PRESENTS ONLY A
SUMMARY OF THE PLAN, WHICH IS ATTACHED HERETO AS EXHIBIT A.
CREDITORS ARE URGED TO CONSULT WITH COUNSEL IN ORDER TO
DETERMINE WHETHER TO VOTE FOR OR AGAINST THE PLAN.


4 Capitalized terms used but not defined in this summary of the Plan shall have the meanings given to such terms as
set forth in the Plan.

                                                        16
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 19 of 55



        1.       Classification of Claims

        A Claim or Interest shall be deemed classified in a particular Class only to the extent that
the Claim or Interest qualifies within the description of that Class and shall be deemed classified
in a different Class to the extent that any remainder of the Claim or Interest qualifies within the
description of such different Class. A Claim or Interest is in a particular Class only to the extent
that the Claim or Interest is an Allowed Claim or an Allowed Interest in that Class and has not
been paid, released, or otherwise satisfied or dealt with prior to the Effective Date. Except as
expressly provided in the Plan or in any order entered in the Chapter 11 Cases prior to the Effective
Date (including, without limitation, the Confirmation Order), no Claim shall become an Allowed
Claim unless and until such Claim is deemed under this Plan or the Bankruptcy Code or the
Bankruptcy Court has entered a Final Order, including, without limitation, the Confirmation Order,
in the Chapter 11 Cases allowing such Claim. Nothing herein shall impact the TH Holdco Credit
Bid and TH Holdco’s rights under orders of this Bankruptcy Court or the Intercreditor Agreement.

        The term “impaired” as used below shall have the same meaning it has pursuant to § 1124
of the Bankruptcy Code. Thus, a Class of Claims is impaired under the Plan unless, with respect
to each and every Claim in the Class, the holder of such Claim receives, on the Effective Date of
the Plan, the total Allowed amount of such Claim in cash or the Plan leaves unaltered the legal,
equitable, and contractual rights to which such Claim entitles the holder thereof.

        2.       Unclassified Claims/Administrative Claims

        Administrative Claims are not classified under the Plan. Administrative Claims are
Allowed Claims against the applicable Debtor for any costs or expenses of the Chapter 11 Case
under §§ 503(b) and 507(a)(1) of the Bankruptcy Code, including all actual and necessary expenses
of preservation of the applicable Debtor’s Estate. Such Allowed Administrative Claims are to be
paid in full (to the extent not already paid during the Chapter 11 Cases), in cash on the later of: (i)
the Effective Date; (ii) the date such Claim becomes Allowed; and (iii) such other date and upon
such other terms as may be agreed upon by the holder of such Claim and the applicable Debtor, or
as ordered by the Bankruptcy Court.

        All requests for payment of Administrative Claims that accrued out of the ordinary course
of business during the Administrative Period shall be filed and served on the Debtors and TH
Holdco not later than thirty (30) calendar days after notice of the Confirmation Date, with the
exception of the Administrative Claims of Professional Persons retained pursuant to order of the
Bankruptcy Court, which are subject to Court approval after notice and hearing and shall be paid
on or before the Effective Date or as otherwise ordered by the Bankruptcy Court. Notwithstanding
anything in the Plan to the contrary, objections to such requests shall be filed and served within
sixty (60) calendar days after the Effective Date.

        Except as specified above, all Allowed Administrative Claims shall receive cash from the
Distribution Agent in the amount of such Allowed Administrative Claim on the later of (i) the
Effective Date and (ii) the date such Administrative Claim becomes an Allowed Administrative
Claim, or at such other date and upon such other terms as may be agreed upon the holder of the
Allowed Administrative Claims and the Distribution Agent or TH Holdco or ordered by the
Bankruptcy Court.


                                                  17
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                          Pg 20 of 55



        Any Allowed Administrative Claim based on a liability incurred by the applicable Debtor
in the ordinary course of business during the Chapter 11 Case may be paid in the ordinary course
of business in accordance with the terms and conditions of any agreement relating thereto, and any
Allowed Administrative Claim may be paid on such other terms as may be agreed on between the
holder of such Allowed Administrative Claim and the applicable Debtor.

        3.       Priority Tax Claims

        Priority Tax Claims are not classified under the Plan. Unless otherwise agreed to by the
Distribution Agent and a holder of an Allowed Priority Tax Claim, such Allowed Claims will be
paid 100% of the amount of their Allowed Claim in equal deferred cash payments on a quarterly
basis, beginning on the later of (i) the Effective Date and (ii) the date such Claim becomes an
Allowed Claim.

        4.       Professional Fee Claims

        Professional Fee Claims are not classified under the Plan. Any Professional Person seeking
allowance of a Professional Fee Claim shall file, with the Bankruptcy Court, its final application
for allowance of compensation for services rendered and reimbursement of expenses incurred prior
to the Effective Date and in connection with the preparation and prosecution of such final
application no later than thirty (30) calendar days after the Effective Date. Any objections to such
Professional Fee Claims must be filed and served pursuant to the procedures set forth in the
Confirmation Order no later than sixty (60) calendar days after the Effective Date or such other
date as established by the Bankruptcy Court, all of which are subject to approval by the Bankruptcy
Court on an interim and/or final basis.

        All Professional Persons seeking allowance by the Bankruptcy Court of a Professional Fee
Claim shall be paid in full in cash in such amounts as are approved by the Bankruptcy Court:
(i) upon the later of (x) the Effective Date and (y) fourteen (14) calendar days after the date upon
which the order relating to the allowance of any such Professional Fee Claim is entered; or
(ii) upon such other terms as may be mutually agreed upon between the holder of such Professional
Fee Claim and the Disbursing Agent. On the Effective Date, to the extent known, the Disbursing
Agent shall reserve and hold in a segregated account cash in an amount equal to all accrued but
unpaid Professional Fee Claims as of the Effective Date, which cash shall be disbursed solely to
the holders of Allowed Professional Fee Claims with the remainder to be reserved until all
Professional Fee Claims have been either Allowed and paid in full or disallowed by a Final Order,
at which time any remaining cash in the segregated account shall become the sole and exclusive
property of TH Holdco. All post-Confirmation Professional Fees and expenses for services
rendered by the Professional Persons in connection with the Chapter 11 Case and the Plan shall be
paid in the ordinary course by the Disbursing Agent.

         The Estimated Professional Fee Escrow will be established by the Debtors or TH Holdco
ten (10) days prior to the Effective Date and will hold sufficient Cash to pay the Fee Claims in
full, less any applicable retainers held by such professionals, subject to their Allowance by the
Bankruptcy Court upon the later of (i) the Effective Date or (ii) the date upon which the order
relating to any such Allowed Fee Claim is entered or (iii) upon such other terms and conditions as
may be agreed to between the holder of such an Allowed Fee Claim, and TH Holdco. The


                                                18
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26           Main Document
                                          Pg 21 of 55



Estimated Professional Fee Escrow shall be funded first from the Debtors’ cash on hand as of the
Effective Date of the Plan.

        5.       U.S. Trustee Fees

        The Disbursing Agent shall pay all outstanding U.S. Trustee Fees of the applicable Estate
on an ongoing basis on the date such U.S. Trustee Fees become due and payable, until such time
as a final decree is entered closing the applicable Chapter 11 Case, the applicable Chapter 11 Case
is converted or dismissed, or the Bankruptcy Court orders otherwise.

        6.       Classified Claims

        The Plan provides for the division of claims and interests into separate classes. The
following table designates the Classes of Claims against and Interests in each of the Debtors and
specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to vote
to accept or reject the Plan in accordance with § 1126 of the Bankruptcy Code, and (c) deemed to
reject the Plan. In accordance with § 1123 of the Bankruptcy Code, Administrative Expense
Claims and Priority Tax Claims have not been classified and, thus, are excluded from the classes
of Claims and Interests set forth in Section 3 of the Plan.




                                                19
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26     Main Document
                                          Pg 22 of 55




 Class        Designation                             Treatment       Entitled to Vote

                                                                               No
              85 Flatbush RHO Hotel Other
      1                                                  Unimpaired       (presumed to
              Priority Claims
                                                                             accept)

                                                                               No
              85 Flatbush RHO Residential
      2                                                  Unimpaired       (presumed to
              Other Priority Claims
                                                                             accept)

      3       TH Holdco Secured Claim                      Impaired           Yes

              85 Flatbush RHO Hotel Other
      4                                                    Impaired           Yes
              Secured Claims

              85 Flatbush RHO Residential
      5                                                    Impaired           Yes
              Other Secured Claims

              85 Flatbush RHO Hotel General
      6                                                    Impaired           Yes
              Unsecured Claims

              85 Flatbush RHO Hotel Existing
      7                                                    Impaired           Yes
              Equity Interests

              85 Flatbush RHO Residential
      8                                                    Impaired           Yes
              General Unsecured Claims

              85 Flatbush RHO Residential
      9                                                    Impaired           Yes
              Existing Equity Interests

              85 Flatbush Mezz Other Priority
     10                                                    Impaired           Yes
              Claims

     11       85 Flatbush Mezz Claims                      Impaired           Yes

              85 Flatbush Mezz Other Secured
     12                                                    Impaired           Yes
              Claims

              85 Flatbush Mezz General
     13                                                    Impaired           Yes
              Unsecured Claims

              85 Flatbush Mezz Existing Equity
     14                                                    Impaired   No (deemed to reject)
              Interests




                                                 20
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                          Pg 23 of 55




        85 Flatbush RHO Hotel Other Priority Claims (Class 1).

       (a)   Classification: Class 1 consists of Allowed Other Priority Claims against 85
Flatbush RHO Hotel.

        (b)     Treatment: Except to the extent that a holder of an Allowed Other Priority Claim
against 85 Flatbush RHO Hotel that has agreed to less favorable treatment of such Claim, each
such holder shall receive, in full and final satisfaction of such Claim, Cash from the Plan Fund
allocable to the Hotel Property, in an amount equal to such Claim, payable on the later of the
Closing Date, the date on which such Other Priority Claim becomes an Allowed Other Priority
Claim, or when such claim becomes payable in the ordinary course or as soon as reasonably
practical thereafter.

        (c)     Voting: Class 1 is Unimpaired, and the holders of 85 Flatbush RHO Hotel Other
Priority Claims are conclusively presumed to have accepted the Plan pursuant to § 1126 of the
Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Hotel Other Priority Claims are not
entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Residential Other Priority Claims (Class 2).

       (a)   Classification: Class 2 consists of Allowed Other Priority Claims against 85
Flatbush RHO Residential.

        (b)    Treatment: Except to the extent that a holder of an Allowed Other Priority Claim
against 85 Flatbush RHO Residential that has agreed to less favorable treatment of such Claim,
each such holder shall receive, in full and final satisfaction of such Claim, Cash from the Plan
Fund allocable to the Residential Property, in an amount equal to such Claim, payable on the later
of the Closing Date, the date on which such Other Priority Claim becomes an Allowed Other
Priority Claim, or when such claim becomes payable in the ordinary course or as soon as
reasonably practical thereafter.

        (c)     Voting: Class 2 is Unimpaired, and the holders of 85 Flatbush RHO Residential
Other Priority Claims are conclusively presumed to have accepted the Plan pursuant to § 1126 of
the Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Residential Other Priority Claims
are not entitled to vote to accept or reject the Plan.

        TH Holdco Secured Claim (Class 3).

        (a)     Classification: Class 3 consists of the TH Holdco Secured Claim. The TH Holdco
Secured Claim is a secured claim pursuant to the TH Holdco Prepetition Loan Agreement, which
is secured by the TH Holdco Mortgage and constitutes a first priority security interest on the Hotel
Property and Residential Property. Nothing herein shall prejudice TH Holdco’s rights under the
Intercreditor Agreement and under orders of this Bankruptcy Court.

        (b)      Treatment: The holder of the TH Holdco Secured Claim shall receive,


                                                21
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                          Pg 24 of 55



        (i)     If the Hotel Property and/or Residential Property is sold to a party other than TH
Holdco, Cash in an amount sufficient to satisfy the sum of the Allowed Class 3 Claim, together
with all applicable prepetition and postpetition interest, costs and fees. Pending the Closing of the
Sale Transaction, the holder of the Class 3 Claims shall retain its Lien on the Hotel and Residential
Property.

         (ii)  If the Hotel and/or Residential Property is sold to TH Holdco pursuant to a bid
made by TH Holdco pursuant to § 363(k) of the Bankruptcy Code, then TH Holdco shall receive
the Hotel and/or Residential Property and any further distribution to which is it entitled to on its
unsecured deficiency claim if TH Holdco chooses to assert such unsecured deficiency claim. In
any event, TH Holdco preserves all of its rights and claims against all guarantors and non-debtor
parties.

        As part of its credit bid, TH Holdco, its nominee, or designee, may elect to take title of any
of the Properties subject to the existing TH Holdco Mortgage, which TH Holdco Mortgage may
be assigned to any such nominee’s or designee’s lender. In the event TH Holdco or its nominee
or designee elects to take title to any of the Properties subject to the existing TH Holdco Mortgage,
Debtors shall have no further financial obligation to TH Holdco or any assignee of the TH Holdco
Mortgage and shall be released from any and all liability to TH Holdco or any assignee with respect
to such TH Holdco Mortgage upon the Closing. Nothing herein shall impact TH Holdco’s rights
as to any deficiency claim against the Debtors or any guarantors or other non-debtor parties.

        Pursuant to § 1146(a) of the Bankruptcy Code, the deeds conveying any of the Properties
to TH Holdco or its nominee or designee upon the Effective Date of this Plan and any deeds further
conveying any of the Properties by TH Holdco or its nominee or designee within two years
following TH Holdco or its nominee or designee taking title to the Properties pursuant to this Plan
shall be an instrument of transfer in connection with or in furtherance of the Plan and shall not be
subject to tax under any law imposing a Transfer Tax, and, to the extent provided by § 1146(a) of
the Bankruptcy Code, if any, shall not be subject to any state, local or federal law imposing sales
tax.

         (c)     Voting: Class 3 is Impaired, and holder of the TH Holdco Secured Claim in Class 3
is entitled to vote to accept or reject the Plan.

        Flatbush RHO Hotel Other Secured Claims (Class 4).

        (a)     Classification: Class 4 consists of the 85 Flatbush RHO Hotel Other Secured
Claims. To the extent that 85 Flatbush RHO Hotel Other Secured Claims are secured by different
collateral or different interests in the same collateral, such Claims shall be treated as separate
subclasses of Class 4.

       (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
and 3, in the event there is a surplus remaining in the Plan Fund, such surplus shall be paid to
Allowed Class 4 and 5 Other Secured Creditors, in accordance with their statutory priority as
follows: except to the extent that a holder of an Allowed 85 Flatbush RHO Hotel Other Secured


                                                 22
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26           Main Document
                                           Pg 25 of 55



Claim against 85 Flatbush RHO Hotel has agreed to less favorable treatment of such Claim, each
holder of an Allowed 85 Flatbush RHO Hotel Other Secured Claim shall receive, at the option of
85 Flatbush RHO Hotel, (i) payment in full and final satisfaction of such Allowed Class 4 Claim,
in Cash from the Plan Fund allocable to the Hotel Property, their pro rata share of the Remaining
Plan Fund allocable to the Hotel Property, up to the amount of such Allowed Claim payable on the
later of the Closing Date and the date on which such 85 Flatbush RHO Hotel Other Secured Claim
becomes an Allowed Claim, or as soon as reasonably practical thereafter, (ii) delivery of the
collateral securing such Allowed 85 Flatbush RHO Hotel Other Secured Claim and payment of
any interest required under § 506(b) of the Bankruptcy Code, or (iii) such other treatment necessary
to satisfy § 1129 of the Bankruptcy Code.

       (c)   Voting: Class 4 is Impaired, and the holders of 85 Flatbush RHO Hotel Other
Secured Claims are entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Residential Other Secured Claims (Class 5).

        (a)     Classification: Class 5 consists of the 85 Flatbush RHO Residential Other Secured
Claims. To the extent that 85 Flatbush RHO Residential Other Secured Claims are secured by
different collateral or different interests in the same collateral, such Claims shall be treated as
separate subclasses of Class 5.

        (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
and 3, in the event there is a surplus remaining in the Plan Fund, such surplus shall be paid to
Allowed Class 4 and 5 Other Secured Creditors, in accordance with their statutory priority as
follows: except to the extent that a holder of an Allowed 85 Flatbush RHO Residential Other
Secured Claim against 85 Flatbush RHO Residential has agreed to less favorable treatment of such
Claim, each holder of an Allowed 85 Flatbush RHO Residential Other Secured Claim shall receive,
at the option of 85 Flatbush RHO Residential, (i) payment in full and final satisfaction of such
Allowed Class 5 Claim, in Cash from the Plan Fund allocable to the Residential Property, their pro
rata share of the remaining Plan Fund allocable to the Residential Property up to the amount of
such Allowed Claim payable on the later of the Closing Date and the date on which such 85
Flatbush RHO Residential Other Secured Claim becomes an Allowed Claim, or as soon as
reasonably practical thereafter, (ii) delivery of the collateral securing such Allowed 85 Flatbush
RHO Residential Other Secured Claim and payment of any interest required under § 506(b) of the
Bankruptcy Code, or (iii) such other treatment necessary to satisfy § 1129 of the Bankruptcy Code.

       (c)   Voting: Class 5 is impaired, and the holders of 85 Flatbush RHO Residential Other
Secured Claims are entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Hotel General Unsecured Claims (Class 6).

     (a)         Classification: Class 6 consists of General Unsecured Claims against 85 Flatbush
RHO Hotel.

       (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
3, 4 and 5, on the Closing Date, or as soon thereafter as is reasonably practicable, except to the

                                                23
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                           Pg 26 of 55



extent that a holder of an Allowed General Unsecured Claim agrees to less favorable treatment of
such Allowed General Unsecured Claim or has been paid before the Effective Date, each holder
of an Allowed General Unsecured Claim in Classes 6 and 8 shall receive their pro rata share of the
remaining Cash from the Plan Fund allocable to the Hotel Property, up to the full amount of their
Allowed Claim and their pro rata share of any TH Holdco Unsecured Creditors Dedicated Fund if
TH Holdco acquires the Hotel through the TH Holdco Credit Bid. In such circumstance, TH
Holdco will also voluntarily further contribute any amount it would receive on its deficiency claim
to the other Class 6 and 8 General Unsecured Claimants which reserving its rights on such
deficiency claim as to all guarantors and all non-debtor parties.

        (c)      Voting: Class 6 is impaired and holders of General Unsecured Claims in Class 6
are entitled to vote to accept or reject the Plan.

         85 Flatbush RHO Hotel Existing Equity Interests (Class 7).

         (a)     Classification: Class 7 consists of Existing Equity Interests in 85 Flatbush RHO
Hotel.

         (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably practicable,
Equity Interests in the Debtors will be cancelled and holders of Existing Equity Interests will not
receive any recovery on account of their Equity Interests, provided however, that after payment is
made in full to holders of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed
Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, 5, 6, and 8, and to the extent there is any
remaining cash in the Plan Fund allocable to either the Hotel Property or the Residential Property
for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO Hotel and Class 9 Existing
Equity Interests in 85 Flatbush RHO Residential, any such funds shall be contributed by the
holders of Existing Equity Interests in 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential
to the Plan for distribution on account of the 85 Mezz Flatbush Mezz Claim.

        (c)     Voting: Class 7 is impaired by the Plan and the holders of Allowed Existing Equity
Interests in 85 Flatbush RHO Hotel are entitled to vote to accept or reject the Plan.

         85 Flatbush RHO Residential General Unsecured Claims (Class 8).

     (a)    Classification: Class 8 consists of General Unsecured Claims against 85 Flatbush
RHO Residential.

        (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
3, 4 and 5, on the Closing Date, or as soon thereafter as is reasonably practicable, except to the
extent that a holder of an Allowed General Unsecured Claim agrees to less favorable treatment of
such Allowed General Unsecured Claim or has been paid before the Effective Date, each holder
of an Allowed General Unsecured Claim in Classes 6 and 8 shall receive, in full and final
satisfaction of such Claim, their pro rata share of the remaining Cash from the Plan Fund allocable
to the Residential Property and their pro rata share of any TH Holdco Unsecured Creditors
Dedicated Fund if TH Holdco acquires the Residential Property through the TH Holdco Credit
Bid. In such circumstance, TH Holdco will also voluntarily further contribute any amount it would


                                                 24
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                           Pg 27 of 55



receive on its deficiency claim to the other Class 6 and 8 General Unsecured Claimants which
reserving its rights on such deficiency claim as to all guarantors and all non-debtor parties.

        (c)      Voting: Class 8 is impaired and holders of General Unsecured Claims in Class 8
are entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Residential Existing Equity Interests (Class 9).

       (a)       Classification: Class 9 consists of Existing Equity Interests in 85 Flatbush RHO
Residential.

         (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably practicable,
Equity Interests in the Debtors will be cancelled and holders of Existing Equity Interests will not
receive any recovery on account of their Equity Interests, provided however, that after payment is
made in full to holders of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed
Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, 5, 6, and 8, and to the extent there is any
remaining cash in the Plan Fund allocable to either the Hotel Property or the Residential Property
for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO Hotel and Class 9 Existing
Equity Interests in 85 Flatbush RHO Residential, any such funds shall be contributed by the
holders of Existing Equity Interests in 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential
to the Plan for distribution on account of the 85 Mezz Flatbush Mezz Claim.

        (c)     Voting: Class 9 is impaired by the Plan and the holders of Allowed Existing Equity
Interests in 85 Flatbush RHO Residential are entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Mezz Other Priority Claims (Class 10).

       (a)   Classification: Class 10 consists of Allowed Other Priority Claims against 85
Flatbush RHO Mezz.

         (b)    Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2,
3, 4, 5, 6, and 8 and to the extent there is any remaining cash in the Plan Fund, and except to the
extent that a holder of an Allowed Other Priority Claim against 85 Flatbush RHO Mezz has agreed
to less favorable treatment of such Claim, each such holder shall receive, in full and final
satisfaction of such Claim, their pro rata share of the remaining Cash from the Plan Fund, up to
the full amount of their Allowed Claim, payable on the later of the Closing Date, the date on which
such Other Priority Claim becomes an Allowed Other Priority Claim, or when such claim becomes
payable in the ordinary course or as soon as reasonably practical thereafter.

       (c)   Voting: Class 10 is impaired, and the holders of Other Priority Claims against 85
Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        85 Flatbush Mezz Claim (Class 11).

      (a)    Classification: Class 11 consists of the 85 Flatbush Mezz Claim. The 85 Flatbush
Mezz Claim is a secured claim pursuant to the 85 Flatbush Mezz Loan Agreement, which is


                                                 25
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 28 of 55



secured by the 85 Flatbush Hotel Pledge Agreement and 85 Flatbush Residential Pledge
Agreement.

         (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2,
3, 4, 5, 6, 8 and 10 and to the extent there is any remaining cash in the Plan Fund, the holder of the
85 Flatbush Mezz Claim shall receive, in full and final satisfaction of such Claim, its pro rata share
of the remaining Cash from the Plan Fund up to the full amount of its Allowed Claim. The 85
Flatbush Mezz Claim shall be subject in all respects to the Intercreditor Agreement.

         (c)     Voting: Class 11 is impaired, and holder of the 85 Flatbush Mezz Secured Claim
is entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Mezz Other Secured Claims (Class 12).

        (a)     Classification: Class 12 consists of the 85 Flatbush RHO Mezz Other Secured
Claims. To the extent that 85 Flatbush RHO Mezz Other Secured Claims are secured by different
collateral or different interests in the same collateral, such Claims shall be treated as separate
subclasses of Class 12.

         (b)      Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
3, 4, 5, 6, 8, 10 and 11, and to the extent there is any remaining cash in the Plan Fund, such surplus
shall be paid to Allowed Class 12 Other Secured Creditors, in accordance with their statutory
priority as follows: except to the extent that a holder of an Allowed 85 Flatbush RHO Mezz Other
Secured Claim against 85 Flatbush RHO Mezz has agreed to less favorable treatment of such
Claim, each holder of an Allowed 85 Flatbush RHO Mezz Other Secured Claim shall receive, at
the option of 85 Flatbush RHO Mezz, (i) payment in full and final satisfaction of such Allowed
Class 12 Claim, their pro rata share of the remaining Cash from the Plan Fund up to the amount of
such Allowed Claim payable on the later of the Closing Date and the date on which such 85
Flatbush RHO Mezz Other Secured Claim becomes an Allowed Claim, or as soon as reasonably
practical thereafter, (ii) delivery of the collateral securing such Allowed 85 Flatbush RHO Mezz
Other Secured Claim and payment of any interest required under § 506(b) of the Bankruptcy Code,
or (iii) such other treatment necessary to satisfy § 1129 of the Bankruptcy Code.

       (c)   Voting: Class 12 is impaired, and the holders of Other Secured Claims against 85
Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        85 Flatbush RHO Mezz General Unsecured Claims (Class 13).

     (a)         Classification: Class 13 consists of General Unsecured Claims against 85 Flatbush
RHO Mezz.

         (b)     Treatment: After payment is made in full to holders of Allowed Administrative
Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims in Classes 1, 2,
3, 4, 5, 6, 8, 10, 11 and 12, in to the extent there is any remaining cash in the Plan Fund, on the
Closing Date and except to the extent that a holder of an Allowed General Unsecured Claim agrees
to less favorable treatment of such Allowed General Unsecured Claim or has been paid before the

                                                 26
US_Active\120351770\V-15
20-23280-rdd          Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26          Main Document
                                            Pg 29 of 55



Effective Date, each holder of an Allowed General Unsecured Claim shall receive, in full and final
satisfaction of such Claim, its pro rata share of the remaining Cash from the Plan Fund up to the
full amount of their Allowed Claim.

        (c)      Voting: Class 13 is impaired and holders of General Unsecured Claims in Class 13
are entitled to vote to accept or reject the Plan

        85 Flatbush RHO Mezz Existing Equity Interests (Class 14).

        (a)      Classification: Class 14 consists of Existing Equity Interests in 85 Flatbush RHO
Mezz.

       (b)     Treatment: On the Effective Date, or as soon thereafter as is reasonably practicable,
Equity Interests in the Debtors will be cancelled and holders of Existing Equity Interests will not
receive any recovery on account of their Equity Interests.

       (c)     Voting: Class 14 is impaired by the Plan, and the holders of the Allowed Existing
Equity Interests in 85 Flatbush RHO Mezz are conclusively presumed to have rejected the Plan
pursuant to § 1126(g) of the Bankruptcy Code.

        7.       MEANS FOR IMPLEMENTATION.

                 A.        The Plan Fund.

        The Plan Fund shall be funded by the Sale Proceeds, which shall be allocable to the Hotel
Property and/or the Residential Property as set forth in the Purchase Agreement and the Debtors’
available Cash on hand from its operations and shall be established upon the Closing Date and the
funds distributed to creditors holding Allowed Claims in accordance with the Plan. Creditor
distributions to be made separate from or later than the Closing Date shall be made by the
Disbursing Agent under the Plan.

       In addition, if TH Holdco acquires the Hotel Property and/or the Residential Property
pursuant to the TH Holdco Credit Bid, TH Holdco shall fund the TH Holdco Unsecured Claim
Dedicated Fund for the sole pro rata benefit of holders of Allowed General Unsecured Claims in
Classes 6 and 8.

                 B.        Minimum Cash Distributions.

        The Disbursing Agent shall not be required to make any payment to any holder of an
Allowed Claim on any Distribution Date of Cash less than $100; provided, however, that if any
distribution is not made, such distribution shall be added to any subsequent distribution to be made
on behalf of the holder’s Allowed Claim. The Disbursing Agent shall not be required to make any
final distributions of Cash less than $50 to any holder of an Allowed Claim. If either (a) all
Allowed Claims (other than those whose distributions are deemed undeliverable hereunder) have
been paid in full or (b) the amount of any final distributions to holders of Allowed Claims would
be $50 or less and the aggregate amount of Cash available for distributions to holders of Allowed
General Unsecured Claims is less than $2,500, then no further distribution shall be made by the

                                                27
US_Active\120351770\V-15
20-23280-rdd          Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26          Main Document
                                              Pg 30 of 55



Disbursing Agent and any surplus Cash shall be utilized to pay down any unpaid legal fees incurred
by counsel to the Disbursing Agent post-confirmation.

                 C.        Setoffs.

        The Estates through the Disbursing Agent may, but shall not be required to, set off against
any Claim, any Claims of any nature whatsoever that the Estates may have against the holder of
such Claim; provided that neither the failure to do so nor the allowance of any Claim hereunder
shall constitute a waiver or release by the Debtors of any such Claim the Debtors may have against
the holder of such Claim. Nothing herein shall impact the TH Holdco Credit Bid.

                 D.        The Sale.

        The Confirmation Order shall authorize and approve the Sale Transaction to the Purchaser
under §§ 365, 1123(b)(4), 1129(b)(2)(A)(iii) and 1146(a) of the Bankruptcy Code. The Auction
shall be held promptly after the Confirmation Hearing pursuant to the Sale and Bid Procedures
approved by the Bankruptcy Court.

                 E.        Withholding and Reporting Requirements.

        Withholding Rights: In connection with the Plan, any party issuing any instrument or
making any distribution described in the Plan shall comply with all applicable withholding and
reporting requirements imposed by any federal, state, or local taxing authority, and all distributions
pursuant to the Plan and all related agreements shall be subject to any such withholding or reporting
requirements. Notwithstanding the foregoing, each holder of an Allowed Claim or any other
Person that receives a distribution pursuant to the Plan shall have responsibility for any taxes
imposed by any Governmental Unit, including, without limitation, income, withholding, and other
taxes, on account of such distribution. Any party issuing any instrument or making any distribution
pursuant to the Plan has the right, but not the obligation, to not make a distribution until such
holder has made arrangements satisfactory to such issuing or disbursing party for payment of any
such tax obligations.

       Forms: Any party entitled to receive any property as an issuance or distribution under the
Plan shall, upon request, deliver to the Disbursing Agent or such other Person designated by the
Post-Effective Date Debtors (which entity shall subsequently deliver to the Disbursing Agent any
applicable IRS Form W-8 or Form W-9 received) an appropriate Form W-9 or (if the payee is a
foreign Person) Form W-8, unless such Person is exempt under the tax Code and so notifies the
Disbursing Agent. If such request is made by TH Holdco or such other Person designated by TH
Holdco and the holder fails to comply before the date that is 180 days after the request is made,
the amount of such distribution shall irrevocably revert to TH Holdco and any Claim in respect of
such distribution shall be discharged and forever barred from assertion against any Debtor, TH
Holdco and its respective property.




                                                 28
US_Active\120351770\V-15
20-23280-rdd          Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26           Main Document
                                             Pg 31 of 55



                 F.        Exemption From Certain Transfer Taxes.

        To the maximum extent provided by § 1146(a) of the Bankruptcy Code, the issuance,
transfer, or exchange of any security and the making or delivery of any instrument of transfer under
this Plan as confirmed by the Court, including an instrument of transfer executed in furtherance of
the Sale Transaction contemplated by the Plan, shall not be subject to tax under any law imposing
a Transfer Tax due on the sale of the Hotel Property and/or Residential Property in connection
with or in furtherance of the Plan as confirmed by the Bankruptcy Court and the funding
requirements contained herein and shall not be subject to any state, local or federal law imposing
such tax and the appropriate state or local government officials or agents shall forego collection of
any such tax or governmental assessment and accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental assessment.

        Pursuant to § 1146(a) of the Bankruptcy Code, the deeds conveying any of the Properties
to TH Holdco or its nominee or designee upon the Effective Date of this Plan and any deeds further
conveying any of the Properties by TH Holdco or its nominee or designee within two years
following TH Holdco or its nominee or designee taking title to the Properties pursuant to this Plan
shall be an instrument of transfer in connection with or in furtherance of the Plan and shall not be
subject to tax under any law imposing a Transfer Tax, and, to the extent provided by § 1146(a) of
the Bankruptcy Code, if any, shall not be subject to any state, local or federal law imposing sales
tax.

                 G.        Effectuating Documents; Further Transactions.

        On and after the Effective Date, TH Holdco on behalf of the Debtors and the Estates is
authorized to and may issue, execute, deliver, file or record such contracts, securities, instruments,
releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement and further evidence the terms and conditions of the Plan in
the name of and on behalf of the Debtors and the Estates, without the need for any approvals,
authorization, or consents except for those expressly required pursuant to the Plan.

                 H.        Avoidance Actions and Other Causes of Action.

        All Avoidance Actions and other Causes of Action against an Entity that shall be waived,
relinquished, exculpated, released, compromised, or settled under the Plan or by a Bankruptcy
Court order, unless otherwise expressly preserved in the Confirmation Order.

                 I.        Closing of the Chapter 11 Cases.

       After any of the Chapter 11 Cases of the Debtors have been fully administered, the Debtors
or TH Holdco shall promptly seek authority from the Bankruptcy Court to close such applicable
Chapter 11 Case in accordance with the Bankruptcy Code and the Bankruptcy Rules.




                                                  29
US_Active\120351770\V-15
20-23280-rdd          Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                            Pg 32 of 55




                 J.        Wind Down.

        The Debtors shall be dissolved promptly after the Effective Date. The Disbursing Agent
shall hold any funds for any Disputed Claims or other winddown expenses not yet paid or pre-
paid.

                 K.        Executory Contracts and Unexpired Leases

                       a.     Assumption and Assignment of Executory Contracts and
                 Unexpired Leases

                 On the Effective Date, except as otherwise provided in the Plan, each Executory
                 Contract and Unexpired Lease not previously rejected, assumed, or assumed and
                 assigned shall be deemed automatically rejected pursuant to §§ 365 and 1123 of the
                 Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) is
                 specifically described in the Purchase Agreement as being assumed or assumed and
                 assigned to Purchaser in connection with Confirmation of the Plan or under the
                 Purchase Agreement; (2) as of the Effective Date is subject to a pending motion to
                 assume such Unexpired Lease or Executory Contract; (3) was previously assumed
                 or assumed and assigned to a third party during the pendency of the Chapter 11
                 Cases; or (4) is a contract, instrument, release, indenture, or other agreement or
                 document entered into in connection with the Plan. Notice of any Executory
                 Contract or Expired Lease being assumed, assumed and assigned or rejected to the
                 Plan shall be provided to the applicable contract counter party or lessor pursuant to
                 the provisions in the Confirmation Order.

                           b.    Cure of Defaults for Assumed Executory Contracts and Unexpired
                 Leases

                 Any Cure Obligation due under each Executory Contract and Unexpired Lease to
                 be assumed pursuant to the Plan shall be satisfied, pursuant to § 365(b)(1) of the
                 Bankruptcy Code, by payment in Cash on the Closing Date, subject to the limitation
                 described below, by the Debtor as an Administrative Claim or by the Purchaser, as
                 applicable, or on such other terms as the parties to such Executory Contracts or
                 Unexpired Leases may otherwise agree.

                 In the event of a dispute regarding (1) the amount of the Cure Obligation, (2) the
                 ability of the Debtors’ Estates or any assignee to provide “adequate assurance of
                 future performance” (within the meaning of § 365 of the Bankruptcy Code) under
                 the Executory Contract or Unexpired Lease to be assumed, or (3) any other matter
                 pertaining to assumption, the Cure Obligations required by § 365(b)(1) of the
                 Bankruptcy Code shall be satisfied following the entry of a Final Order or orders
                 resolving the dispute and approving the assumption; provided that, depending on
                 whether the Disbursing Agent or the Purchaser has the obligation to pay the Cure
                 Obligation, such party may settle any dispute regarding the amount of any Cure


                                                  30
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 33 of 55



                 Obligation without any further notice to any party or any action, order, or approval
                 of the Bankruptcy Court.

                 At least fourteen (14) days before the Confirmation Hearing, the Debtors or TH
                 Holdco shall cause notice of proposed Cure Obligations to be sent to applicable
                 counterparties to the Executory Contracts and Unexpired Leases. Any objection by
                 such counterparty must be filed, served, and actually received by the Debtors and
                 TH Holdco not later than ten (10) days after service of notice of the proposed
                 assumption and associated Cure Obligation. Any counterparty to an Executory
                 Contract or Unexpired Lease that fails to object timely to the proposed cure amount
                 will be deemed to have assented to such Cure Obligation and waived any objections
                 to such assumption and assignment.

                 Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan, or
                 otherwise, shall result in the full release and satisfaction of any Claims or defaults,
                 subject to satisfaction of the Cure Obligations, whether monetary or nonmonetary,
                 including defaults of provisions restricting the change in control or ownership
                 interest composition or other bankruptcy-related defaults, arising under any
                 assumed Executory Contract or Unexpired Lease at any time before the Effective
                 Date of assumption and/or assignment. Any prepetition default amount set forth in
                 the Schedules and/or any Proofs of Claim filed with respect to an Executory
                 Contract or Unexpired Lease that has been assumed and assigned shall be deemed
                 disallowed and expunged, without further notice to or action, order, or approval of
                 the Bankruptcy Court or any other Entity.

                           c.   Claims Based on Rejection of Executory Contracts and Unexpired
                 Leases

                 Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of
                 Claim based on the rejection of the Executory Contracts or Unexpired Leases
                 pursuant to the Plan or otherwise, must be filed with Bankruptcy Court and served
                 on the Debtors and TH Holdco no later than fourteen (14) days after the earlier of
                 the Effective Date or the effective date of rejection of such Executory Contract or
                 Unexpired Lease. In addition, any objection to the rejection of an Executory
                 Contract or Unexpired Lease must be filed with the Bankruptcy Court and served
                 on the Debtors, no later than fourteen (14) days after service of the proposed
                 rejection of such Executory Contract or Unexpired Lease.

                 Any holders of Claims arising from the rejection of an Executory Contract or
                 Unexpired Lease for which Proofs of Claims were not timely filed as set forth in
                 the paragraph above shall not (1) be treated as a creditor with respect to such Claim,
                 (2) be permitted to vote to accept or reject the Plan on account of any Claim arising
                 from such rejection, or (3) participate in any distribution in the Chapter 11 Cases
                 on account of such Claim, and any Claims arising from the rejection of an
                 Executory Contract or Unexpired Lease not filed with the Bankruptcy Court within
                 such time will be automatically disallowed, forever barred from assertion, and shall
                 not be enforceable against the Debtors, the Debtors’ Estate, TH Holdco, the

                                                   31
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                            Pg 34 of 55



                 Purchaser or the Hotel Property or Residential Property for any of the foregoing
                 without the need for any objection by the Debtors or TH Holdco further notice to,
                 or action, order, or approval of the Bankruptcy Court or any other Entity, and any
                 Claim arising out of the rejection of the Executory Contract or Unexpired Lease
                 shall be deemed fully compromised, settled, and released, notwithstanding anything
                 in the Schedules or a Proof of Claim to the contrary. All Allowed Claims arising
                 from the rejection of the Debtors’ prepetition Executory Contracts or prepetition
                 Unexpired Leases shall be classified as General Unsecured Claims, except as
                 otherwise provided by order of the Bankruptcy Court.

                           d.   Purchase Agreement

                 The assumption or rejection of any Executory Contract or Unexpired Lease
                 pursuant to the Plan shall be subject in all respects to Purchaser’s rights and
                 obligations, including any Cure Obligations assumed by it in accordance with the
                 Purchase Agreement, with respect to any such Executory Contracts or Unexpired
                 Leases assigned Purchaser pursuant to the terms of the Purchase Agreement.

                       e.       Modifications, Amendments, Supplements, Restatements, or Other
                 Agreements

                 Unless otherwise provided in the Plan, each assumed Executory Contract or
                 Unexpired Lease shall include all modifications, amendments, supplements,
                 restatements, or other agreements that in any manner affect such Executory
                 Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases
                 related thereto, if any, including all easements, licenses, permits, rights, privileges,
                 immunities, options, rights of first refusal, and any other interests, unless any of the
                 foregoing agreements has been previously rejected or repudiated or is rejected or
                 repudiated under the Plan.

                 Modifications, amendments, supplements, and restatements to prepetition
                 Executory Contracts and Unexpired Leases that have been executed by the Debtors
                 during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of
                 the Executory Contract or Unexpired Lease, or the validity, priority, or amount of
                 any Claims that may arise in connection therewith.

                           f.   Reservation of Rights

                 Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement,
                 nor anything contained in the Plan, shall constitute an admission by the Debtors or
                 TH Holdco that any such contract or lease is in fact an Executory Contract or
                 Unexpired Lease or that the Debtors’ Estates have any liability thereunder. In the
                 event of a dispute regarding whether a contract or lease is or was executory or
                 unexpired at the time of assumption or rejection, the Debtors or TH Holdco, shall
                 have (sixty) 60 days following entry of a Final Order resolving such dispute to alter
                 the treatment of such contract or lease as otherwise provided in the Plan.



                                                   32
US_Active\120351770\V-15
20-23280-rdd          Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26           Main Document
                                             Pg 35 of 55




                 L.        Conditions Precedent to the Confirmation Hearing and the Effective
        Date.

                           a.    Condition to the Confirmation Hearing

                 The occurrence of the Confirmation Hearing is subject to the following condition
                 precedent:

                                 (a)    The Purchase Agreement shall have been fully executed and
                                        the deposit required under the Purchase Agreement funded
                                        and placed in escrow.

                                 (b)    The form of Confirmation Order shall be acceptable to TH
                                        Holdco in its reasonable discretion.

                           b.    Conditions Precedent to the Effective Date.

                 The occurrence of the Effective Date of the Plan is subject to the following
                 conditions precedent:

                                 (a)    the Bankruptcy Court shall have entered the Confirmation
                                        Order, the Confirmation Date shall have occurred and the
                                        Confirmation Order shall not be subject to any stay;

                                 (b)    Debtors or TH Holdco shall have transferred to the
                                        Disbursing Agent within three (3) days from the entry of the
                                        Confirmation Order, the operating funds necessary to fund
                                        the Plan Fund pursuant to the terms of this Plan;

                                 (c)    all actions, documents and agreements necessary to
                                        implement and consummate the Plan, including, without
                                        limitation, entry into the documents contained in the Plan
                                        Supplement required to be executed prior to the
                                        Confirmation Date, each in form and substance reasonably
                                        satisfactory to the Debtor and Purchaser, and the transactions
                                        and other matters contemplated thereby, shall have been
                                        effected or executed;

                                 (d)    all governmental and third-party approvals and consents,
                                        including Bankruptcy Court approval, necessary in
                                        connection with the transactions contemplated by the Plan,
                                        if any, shall be in full force and effect, and all applicable
                                        waiting periods shall have expired without any action being
                                        taken or threatened by any competent authority that would
                                        restrain, prevent or otherwise impose materially adverse
                                        conditions on such transactions;

                                                  33
US_Active\120351770\V-15
20-23280-rdd        Doc 152      Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                             Pg 36 of 55



                                 (e)    the Sale Transaction shall have closed as to both the Hotel
                                        Property and the Residential Property; and

                                 (f)    all documents and agreements necessary to implement the
                                        Plan shall have (i) been tendered for delivery and (ii) been
                                        effected or executed by all Entities party thereto, and all
                                        conditions precedent to the effectiveness of such documents
                                        and agreements shall have been satisfied or waived pursuant
                                        to the terms of such documents or agreements.

                           c.    Waiver of Conditions Precedent.

                 Each of the conditions precedent to the Effective Date in Section 10.2 of the Plan
                 other than the condition set forth in Section 10.2(a) of the Plan may be waived in
                 writing by TH Holdco.

                           d.    Effect of Failure of Conditions to Effective Date.

                 If the Confirmation Order is vacated due to a failure of a condition to the Effective
                 Date to occur, (i) no distributions under the Plan shall be made; (ii) the Debtors and
                 all holders of Claims and Interests shall be restored to the status quo ante as of the
                 day immediately preceding the Confirmation Date as though the Confirmation Date
                 ever occurred; and (iii) all monies contributed to the Plan Fund shall be returned to
                 TH Holdco within three (3) business days of the Confirmation Order being vacated.

                 M.        Effect of Confirmation.

                           a.    Vesting of Assets.

                 On the Closing Date, pursuant to §1141(b) and (c) of the Bankruptcy Code, and as
                 set forth in the Purchase Agreement, all property of the Debtors’ Estates shall vest
                 in the Purchaser free and clear of all Claims, liens, encumbrances, charges and other
                 interests, except as provided pursuant to this Plan and the Confirmation Order.

                           b.    Release of Liens.

                 Except as otherwise provided in the Plan or in any contract, instrument, release, or
                 other agreement or document created pursuant to the Plan, on the Closing Date, all
                 mortgages, deeds of trust, Liens, pledges, or other security interests against any
                 property of the Estates shall be fully released, settled, and compromised and all
                 rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens,
                 pledges, or other security interests against any property of the Estates shall revert
                 to the TH Holdco, unless sold to the Purchaser pursuant to the Sale Transaction,
                 provided however, that the Lien securing the TH Holdco Secured Class 3 Claim
                 shall not be deemed released until the TH Holdco Secured Class 3 Claim has been
                 paid in full, from the proceeds of the Sale Transaction (or the TH Holdco Credit
                 Bid) in accordance with the terms of this Plan.


                                                     34
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 37 of 55



                 As part of its credit bid, TH Holdco, its nominee, or designee, may elect to take title
                 of any of the Properties subject to the existing TH Holdco Mortgage, which TH
                 Holdco Mortgage may be assigned to any such nominee’s or designee’s lender. In
                 the event TH Holdco or its nominee or designee elects to take title to any of the
                 Properties subject to the existing TH Holdco Mortgage, Debtors shall have no
                 further financial obligation to TH Holdco or any assignee of the TH Holdco
                 Mortgage and shall be released from any and all liability to TH Holdco or any
                 assignee with respect to such TH Holdco Mortgage upon the Closing. Nothing
                 herein shall impact TH Holdco’s rights as to any deficiency claim against the
                 Debtors or claims against any guarantors or other non-debtor parties.

                           c.   Subordinated Claims.

                 The allowance, classification, and treatment of all Allowed Claims and Interests
                 and the respective distributions and treatments under the Plan take into account and
                 conform to the relative priority and rights of the Claims and Interests in each Class
                 in connection with any contractual, legal, and equitable subordination rights
                 relating thereto, whether arising under general principles of equitable
                 subordination, § 510(b) of the Bankruptcy Code, or otherwise. Pursuant to § 510
                 of the Bankruptcy Code, the Debtors reserve the right for TH Holdco to re-classify
                 any Allowed Claim or Interest in accordance with any contractual, legal, or
                 equitable subordination relating thereto.

                           d.   Binding Effect.

                 Except as otherwise provided in § 1141(d)(3) of the Bankruptcy Code and subject
                 to the occurrence of the Effective Date, on and after the Effective Date, the
                 provisions of the Plan shall bind any holder of a Claim against, or Interest in, the
                 Debtor, and such holder’s respective successors and assigns, whether or not the
                 Claim or Interest of such holder is Impaired under the Plan and whether or not such
                 holder has accepted the Plan.

                           e.   Term of Injunctions or Stays.

                 Unless otherwise provided, all injunctions or stays arising under or entered during
                 the Chapter 11 Cases under §§ 105 or 362 of the Bankruptcy Code, or otherwise,
                 and in existence on the Confirmation Date, shall remain in full force and effect until
                 the later of the Effective Date and the date indicated in the order providing for such
                 injunction or stay.

                           f.   Plan Injunction.

                 Except (i) as otherwise provided under Final Order entered by the Bankruptcy
                 Court or (ii) with respect to the obligations under the Plan, the entry of the
                 Confirmation Order shall forever stay, restrain and permanently enjoin with respect
                 to any Claim held against the Debtors as of the date of entry of the Confirmation
                 Order (i) the commencement or continuation of any action, the employment of
                 process, or any act to collect, enforce, attach, recover or offset from the Debtors,

                                                   35
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                            Pg 38 of 55



                 from the Hotel Property or Residential Property, or from property of the Estates
                 that has been or is to be distributed under the Plan, and (ii) the creation, perfection
                 or enforcement of any lien or encumbrance against the Hotel Property or
                 Residential Property and any property of the Estates that has been or is to be,
                 distributed under the Plan. Except as otherwise provided in the Confirmation
                 Order, the entry of the Confirmation Order shall constitute an injunction against the
                 commencement or continuation of any action, the employment of process, or any
                 act to collect, recover or offset from the Debtors, from the Hotel Property or
                 Residential Property, or from property of the Estates, any claim, any obligation or
                 debt that was held against the Debtors by any person or entity as of the
                 Confirmation Date except pursuant to the terms of this Plan. The entry of the
                 Confirmation Order shall permanently enjoin all Creditors, their successors and
                 assigns, from enforcing or seeking to enforce any such Claims. Nothing herein
                 shall impact TH Holdco’s right to pursue claims against guarantors or other non-
                 debtor parties.

                           g.   Limitation of Liability

                 To the extent permitted under § 1125(e) of the Bankruptcy Code, neither the
                 Exculpated Parties nor any of their respective officers, directors, or employees
                 (acting in such capacity) nor any professional person employed by any of them,
                 shall have or incur any liability to any entity for any action taken or omitted to be
                 taken in connection with or related to the formulation, preparation, dissemination,
                 Confirmation or consummation of the Plan, the Disclosure Statement, the Plan
                 Supplement or the any contract, instrument, release or other agreement or document
                 created or entered into, or any other action taken or omitted to be taken in
                 connection with the Plan, provided that each Exculpated Party shall be entitled to
                 rely upon the advice of counsel concerning his, her, or its duties pursuant to, or in
                 connection with, the Plan or any other related document, instrument, or agreement,
                 except in the case of fraud, gross negligence, willful misconduct, malpractice,
                 breach of fiduciary duty, criminal conduct, unauthorized use of confidential
                 information that causes damages, or ultra vires acts. Nothing in Section 11.8 of the
                 Plan shall limit the liability of the Debtors’ professionals pursuant to Rule 1.8 (h)(1)
                 of the New York State Rules of Professional Conduct. Nothing in the Plan or the
                 confirmation order shall effect a release of any claim by the United States
                 Government or any of its agencies or any state and local authority whatsoever,
                 including, without limitation, any claim arising under the Internal Revenue Code,
                 the environmental laws or any criminal laws of the United States or any state and
                 local authority against the Debtors or any of its respective members, shareholders,
                 officers, directors, employees, attorneys, advisors, agents, representatives and
                 assigns, nor shall anything in the Plan enjoin the United States or any state or local
                 authority from bringing any claim, suit, action or other proceedings against the
                 Debtors or any of its respective members, officers, directors, employees, attorneys,
                 advisors, agents, representatives and assigns for any liability whatever, including
                 without limitation, any claim, suit or action arising under the Internal Revenue
                 Code, the environmental laws or any criminal laws of the United States or any state
                 or local authority, nor shall anything in this Plan exculpate Debtors or any of its

                                                   36
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 39 of 55



                 respective members, officers, directors, employees, attorneys, advisors, agents,
                 representatives and assigns from any liability to the United States Government or
                 any of its agencies or any state and local authority whatsoever, including liabilities
                 arising under the Internal Revenue Code, the environmental laws or any criminal
                 laws of the United States or any state and local authority.

                           h.   Solicitation of the Plan.

                 As of and subject to the occurrence of the Confirmation Date: (a) TH Holdco shall
                 be deemed to have solicited acceptances of the Plan in good faith and in compliance
                 with the applicable provisions of the Bankruptcy Code, including without
                 limitation, §§ 1125(a) and (e) of the Bankruptcy Code, and any applicable non-
                 bankruptcy law, rule or regulation governing the adequacy of disclosure in
                 connection with such solicitation.

                           i.   Plan Supplement.

                 The Plan Supplement shall be filed with the Clerk of the Bankruptcy Court by no
                 later than fifteen (15) days prior to the Confirmation Hearing. Upon its filing with
                 the Bankruptcy Court, the Plan Supplement may be inspected in the office of the
                 Clerk of the Bankruptcy Court during normal court hours.

V.      MECHANICS OF HOW THE PLAN MAY BE ACCEPTED OR REJECTED

        In order for the Plan to be confirmed, various statutory conditions prescribed by the
Bankruptcy Code must be satisfied, including: (a) acceptance of the Plan by at least one (1)
impaired Class entitled to vote on the Plan; (b) provision for payment or distribution under the
Plan to each creditor of money and/or other property at least equal in value to what that creditor
would have received in a Chapter 7 liquidation of the applicable Debtor; (c) a finding by the
Bankruptcy Court that the Plan is feasible; and (d) with respect to each Class, either acceptance by
that Class or a finding by the Bankruptcy Court that the Plan is “fair and equitable” and does not
“discriminate unfairly” against that Class.

        1.       Who May Vote

        Only Classes that are impaired under the Plan are entitled to vote to accept or reject the
Plan. Generally, § 1124 of the Bankruptcy Code provides that a class of claims or interests is
considered impaired unless the Allowed amount of class is paid in full upon consummation of the
plan or a plan does not alter the legal, equitable, and contractual rights of the holder of the claim
or interest. In addition, these classes are impaired unless all outstanding defaults, other than
defaults relating to the insolvency or financial condition of a debtor or the commencement of a
Chapter 11 case, have been cured and the holders of claims or interests in these classes have been
compensated for any damages incurred as a result of any reasonable reliance on any contractual
provisions or applicable law to demand accelerated payment.

       The Claims and Interests in Classes 3 through 13 are impaired by the Plan, and therefore
the holders of Claims or Interest in such Classes are entitled to vote to accept or reject the Plan.


                                                  37
US_Active\120351770\V-15
20-23280-rdd        Doc 152      Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                             Pg 40 of 55



The Interest holders in Class 14 will not receive any distribution, and are therefore deemed to reject
the Plan.

        A creditor is entitled to vote only if either: (i) its Claim has been scheduled by the Debtor
as not disputed, contingent, or unliquidated; or (ii) it has filed a proof of claim on or before the Bar
Date or Supplemental Bar Date established by the Bankruptcy Court and no objection to such
Claim is pending.

     ANY HOLDER OF A CLAIM AS TO WHICH AN OBJECTION HAS BEEN FILED
AND IS PENDING IS ENTITLED TO VOTE IN RESPECT OF SUCH CLAIM ONLY UP TO
THE UNDISPUTED AMOUNT UNLESS THE CREDITOR HAS OBTAINED AN ORDER OF
THE BANKRUPTCY COURT TEMPORARILY ALLOWING THE CLAIM FOR THE
PURPOSE OF VOTING ON THE PLAN. A CREDITOR’S VOTE MAY BE DISREGARDED
IF THE BANKRUPTCY COURT DETERMINES THAT SUCH ACCEPTANCE OR
REJECTION WAS NOT SOLICITED OR PROCURED IN ACCORDANCE WITH THE
PROVISIONS OF THE BANKRUPTCY CODE.

        2.       Voting Procedures

                 A.        Solicitation Period

       The Debtor shall commence the transmission of solicitation packages on or about April __,
2022. In order to be counted, a ballot must be RECEIVED at the following address no later than
4:00 p.m. (prevailing Eastern time), on May __, 2022:

                 Dentons US LLP - 85 Flatbush Balloting
                 1221 Avenue of the Americas
                 New York, New York 10020
                 Attention: Sarah M. Schrag

        Or electronically by email to 85FlatbushRHOballots@dentons.com.

       A ballot will be sent to each holder of a Claim or Interest eligible to vote on the Plan, which
will serve as the ballot for indicating acceptance or rejection of the Plan pursuant to the
requirements of §§ 1125 and 1126 of the Bankruptcy Code and Bankruptcy Rule 3018(c).

        3.       Confirmation of the Plan

        Under the Bankruptcy Code, the following steps must be taken to confirm the Plan:

                 A.        Confirmation Hearing

        Section 1128 of the Bankruptcy Code requires the Bankruptcy Court, after notice, to hold
a hearing on confirmation of the Plan. The Bankruptcy Court has scheduled a telephonic or video
hearing on confirmation of the Plan through zoom.gov for May __, 2022 (the “Confirmation
Hearing”). Section 1128(b) of the Bankruptcy Code provides that any party in interest may object
to confirmation of the Plan, regardless of whether such party is entitled to vote.



                                                  38
US_Active\120351770\V-15
20-23280-rdd          Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26           Main Document
                                             Pg 41 of 55



                 B.        Objections to Confirmation

        The Bankruptcy Court has directed that, on or before 4:00 p.m. (prevailing Eastern Time)
on May __, 2022, any objections to the Plan are required to be in writing and filed with the
Bankruptcy Court, and a copy served upon the U.S. Trustee, counsel for TH Holdco and counsel
for the Debtors. Unless otherwise ordered by the Bankruptcy Court, TH Holdco expects that
timely-filed objections to confirmation of the Plan will be heard and held in conjunction with the
Confirmation Hearing. The Confirmation Hearing may be adjourned from time to time by the
Bankruptcy Court without further notice except for an announcement made at the Confirmation
Hearing or any adjourned hearing.

     Objections to confirmation of the Plan are governed by Bankruptcy Rule 9014. IF AN
OBJECTION TO CONFIRMATION IS NOT TIMELY SERVED AND FILED, IT MAY
NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

        4.       Requirements for Confirmation of the Plan

       At the Confirmation Hearing, the Bankruptcy Court will determine whether the
requirements of § 1129(b) of the Bankruptcy Code have been satisfied, in which event the
Bankruptcy Court may enter an order confirming the Plan. These requirements include the
following:

                 A.        Best Interests Test

         Confirmation of the Plan requires that with respect to each impaired Class of Creditors,
each holder of an Allowed Claim in such Class has either accepted the Plan or will receive under
the Plan property of a value, as of the Effective Date, that is not less than the amount the holder
would receive if the Debtor were liquidated under Chapter 7 of the Bankruptcy Code. It is TH
Holdco’s belief that creditors will receive a greater or equal distributions pursuant to the Plan than
through a liquidation of the applicable Debtor’s assets under Chapter 7 of the Bankruptcy Code.
In this regard, TH Holdco believes that a forced fire sale of the Hotel and Residential Property in
the current market will severely undermine any chance of preserving and maximizing the value of
the Hotel and Residential Property, in particular, given the continuing adverse impact on the
hospitality industry as a whole and the Hotel herein, which has only recently started to rebound.
This, coupled with the TH Holdco Secured Claim, which are secured by all of the assets of the
Hotel Property and Residential Property, and the unnecessary added administrative cost given the
fees due to a trustee under Chapter 7 of the Bankruptcy Code, which must be paid before any other
unsecured or priority Claim under the Bankruptcy Code, would result in less available assets for
creditors than under the Plan, which provides for 100% distributions to Allowed Secured Property
Tax Claims, 100% distributions to Allowed Chapter 11 Administrative Claims and if the TH
Holdco Plan is confirmed and TH Holdco acquires the Hotel and/or the Residential Property via a
credit bid, a cash fund of $200,000 in the form of the TH Holdco General Unsecured Dedicated
Fund. TH Holdco asserts that Chapter 11 Administrative Expenses and Priority Claims would not
receive payment in full (and may receive no distribution whatsoever after secured claims and
Chapter 7 administrative expenses) and that no General Unsecured Claims in an of the three Estates
would receive a distribution in a Chapter 7 case.



                                                 39
US_Active\120351770\V-15
20-23280-rdd          Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26            Main Document
                                             Pg 42 of 55



       A copy of TH Holdco’s liquidation analysis for each Estate is attached hereto as Exhibit
B and further discussion of the best interests test and the Liquidation Analysis is set forth later in
Alternatives to the Plan section of this Disclosure Statement.

                 B.        Feasibility of the Plan

        In order for the Plan to be confirmed, the Bankruptcy Court must determine that it is
feasible; i.e., that as a practical matter, there are sufficient resources to meet the obligations under
the Plan on a timely basis.

        TH Holdco asserts that the TH Holdco Credit Bid can close promptly after the TH Holdco
Plan is confirmed and upon the Effective Date of that Plan, TH Holdco would fund cash sufficient
to pay or reserve for Chapter 11 Administrative Expenses and Priority Claims in the 85 Flatbush
RHO Hotel and 85 Flatbush RHO Residential cases.

                 C.        Acceptance by Impaired Classes

       Section 1129(a)(8) of the Bankruptcy Code generally requires that each impaired Class
must accept the Plan by the requisite votes for confirmation to occur. A Class of impaired creditors
will have accepted the Plan if at least two-thirds in amount and more than one-half in number of
Allowed Claims actually voting in the Class have accepted it.

                 D.        Cramdown

        Even if the Plan is not accepted by all impaired classes, the Plan may nevertheless be
confirmed by the Bankruptcy Court pursuant to its “cramdown” powers under § 1129(b) of the
Bankruptcy Code if: (i) the Plan is accepted by at least one impaired Class and the Plan meets all
of the other requirements of § 1129(a) of the Bankruptcy Code; (ii) the Plan does not discriminate
unfairly; and (iii) the Plan is fair and equitable to the rejecting Classes. The Bankruptcy Court
must determine at the Confirmation Hearing whether the Plan is fair and equitable and does not
discriminate unfairly against any impaired dissenting Class of Claims. A plan will not discriminate
unfairly if no class receives more than it is legally entitled to receive for its Claims and Interests.
The meaning of the phrase “fair and equitable” is different when applied to secured claims and
unsecured claims.

        With respect to a Secured Claim, “fair and equitable” as applicable herein requires that any
such Claim Holder retains their respective lien and receives present value interest on account of
any deferred payout, equal to the Allowed amount of such Claim. With respect to an Unsecured
Claim, “fair and equitable” means either: (x) an impaired unsecured creditor receives property of
a value equal to the amount of its Allowed Claim; or (y) the holders of Claims and Interests that
are junior to the Claims of the dissenting Class will not receive any property under a plan unless
such junior Claim or Interest makes a contribution of sufficient new value under the Plan.

        If Claimants do not vote in numbers and amounts sufficient to accept the Plan as proposed,
TH Holdco as the plan proponent will nonetheless seek Confirmation of the Plan pursuant to
§ 1129(b) of the Bankruptcy Code. At such time the Bankruptcy Court will determine whether,
as follows: (1) all of the requirements of § 1129(a) of the Bankruptcy Code have been met; (2) a
class of creditors is receiving more than it is legally entitled for its respective Claims; and (3) if

                                                     40
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 43 of 55



applicable, whether a dissenting secured class of creditors has retained their respective lien(s) in
the applicable Debtor’s Assets and is receiving present value interest on account of any deferred
payouts equal to the Allowed Amount of such Claim(s). TH Holdco believes that in a cramdown
confirmation, the Plan satisfies the foregoing requirements.

VI.     U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

       The following discussion summarizes certain U.S. federal income tax consequences to
the Debtors, Creditors and certain Holders of Claims of the implementation of the Plan. This
summary is for general information purposes only, and should not be relied upon for
purposes of determining the specific tax consequences of the Plan with respect to any
particular Debtor, Creditor or Holder of a Claim. This discussion does not purport to be a
complete analysis or listing of all potential tax considerations.

        The discussion is based upon the Internal Revenue Code of 1986, as amended (the “Tax
Code”), Treasury Regulations promulgated thereunder, judicial decisions, and published
administrative rules and pronouncements of the Internal Revenue Service (“IRS”), all as in effect
on the date hereof. Legislative, judicial or administrative changes or new interpretations enacted
or promulgated after the date hereof could alter or modify the analyses set forth below with respect
to the U.S. federal income tax consequences of the Plan. Any such changes or new interpretations
may have retroactive effect and could significantly affect the U.S. federal income tax consequences
of the Plan described below.

         The U.S. federal income tax consequences of the Plan are complex and are subject to
significant uncertainties. TH Holdco has not requested a ruling from the IRS or an opinion of
counsel with respect to any of the tax aspects of the Plan. Thus, no assurance can be given as to
the interpretation that the IRS will adopt. In addition, this discussion does not address any U.S.
federal estate or gift tax considerations, the Medicare tax on net investment income, or any foreign,
state or local tax consequences, nor does it purport to address the U.S. federal income tax
consequences of the Plan to: (i) special classes of taxpayers (such as, but not limited to, Persons
who are related to the Debtors within the meaning of the Tax Code, non-U.S. persons, broker-
dealers, banks, mutual funds, insurance companies, financial institutions, small business
investment companies, regulated investment companies, tax-exempt organizations, and investors
in pass-through entities and Holders of Claims or Interests who are themselves in bankruptcy); or
(ii) parties not entitled to vote on the Plan.

        To the extent that the following discussion relates to the U.S. federal income tax
consequences, it is limited to “U.S. Holders.” For purposes of the following discussion, you are a
“U.S. Holder” if, for U.S. federal income tax purposes, you are: (a) an individual who is a U.S.
citizen or U.S. resident alien for U.S. federal income tax purposes; (b) a corporation (or other entity
treated as a corporation for U.S. federal income tax purposes) that was created or organized in or
under the laws of the United States, any state thereof or the District of Columbia; (c) an estate
whose income is subject to U.S. federal income taxation regardless of the source of such income;
or (d) a trust (1) if a court within the U.S. is able to exercise primary jurisdiction over the trust's
administration and one or more “United States persons” (within the meaning of Section
7701(a)(30) of the Tax Code) have authority to control all substantial decisions of the trust, or (ii)
that has a valid election in effect under applicable Treasury Regulations to be treated as a "” States

                                                  41
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                           Pg 44 of 55



person” (within the meaning of Section 7701(a)(30) of the Tax Code). For purposes of this
discussion, a “Non-U.S. Holder” is any Holder of a Claim that is not a U.S. Holder other than any
partnership (or other entity treated as a partnership or other pass-through entity for U.S. federal
income tax purposes).

        If a partnership (or other entity treated as a partnership or other pass-through entity for U.S.
federal income tax purposes) is a Holder of a Claim, the tax treatment of a partner (or other
beneficial owner) generally will depend upon the status of the partner (or other beneficial owner)
and the activities of the partner (or other beneficial owner) and the entity. Partners (or other
beneficial owners) of partnerships (or other pass-through entities) that are Holders of Claims
should consult with their tax advisors regarding the U.S. federal income tax consequences of the
Plan.

        This discussion assumes that Holders of Claims or Interests hold only Claims or Interests
in a single Class. Holders of multiple Classes of Claims or Interests should consult their own tax
advisors as to the effect such ownership may have on the U.S. federal income tax consequences
described below. This discussion further assumes that the various debt and other arrangements to
which the Debtors are a party will be respected for U.S. federal income tax purposes in accordance
with their form.

THIS SUMMARY IS NOT INTENDED TO BE, AND SHOULD NOT BE CONSTRUED
AS, LEGAL OR TAX ADVICE TO ANY DEBTOR, CREDITOR OR HOLDER OF
CLAIMS OR INTERESTS. THE FOLLOWING DISCUSSION IS FOR INFORMATION
PURPOSES ONLY AND IS NOT TAX ADVICE. THE TAX CONSEQUENCES ARE IN
MANY CASES UNCERTAIN AND MAY VARY DEPENDING ON A HOLDER OF
CLAIM’S PARTICULAR CIRCUMSTANCES. THE DEBTORS, CREDITORS AND
HOLDERS OF CLAIMS SHOULD CONSULT THEIR OWN TAX ADVISORS WITH
RESPECT TO THE U.S. FEDERAL INCOME TAX CONSEQUENCES AND ANY
OTHER POTENTIAL TAX CONSEQUENCES UNDER THE LAWS OF ANY STATE,
LOCALITY OR OTHER RELEVANT TAXING JURISDICTION ARISING FROM THE
PLAN.

 Certain U.S. Federal Income Tax Consequences to the Debtors and Their Respective Members

        Generally, if a debt for which a debtor is personally liable is forgiven or discharged for less
than the full amount owed, the debt is considered canceled for the amount it remained unpaid
(“COD income”), and must be included in such debtor's gross income. However, under certain
exceptions, COD income may be excluded from a debtor’s gross income. A specific statutory
exception applies to certain debtors if the discharge of indebtedness is granted in a case under Title
11 of the Bankruptcy Code and pursuant to a plan approved by a bankruptcy court in such case. A
separate exception applies to taxpayers if the discharge occurs when the taxpayer is insolvent.
Section 108 of the Tax Code requires the amount of COD income so excluded from gross income
to be applied to reduce certain tax attributes of the taxpayer. Attribute reduction is calculated only
after the tax for the year of the discharge has been determined. Section 108 of the Tax Code further
provides that a taxpayer does not realize COD income from cancellation of indebtedness to the
extent that payment of such indebtedness would have given rise to a deduction.



                                                  42
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                          Pg 45 of 55



       Each Debtor is a limited liability company treated as a partnership for U.S. Federal income
tax purposes. For each Debtor, and for U.S. Federal income tax purposes, all items of income,
gain, deduction, loss and credit, including COD income, will flow through the Debtor to the
members of the Debtor in accordance with their respective shares of such tax items. The
exclusions of COD income from each Debtor’s income for bankruptcy or insolvency does not
prevent each Debtor’s COD income from flowing through to the members of each Debtor. A
member of Debtor will be eligible for exclusion of COD income only if the member is also
discharged from liability in a case under Title 11 of the United States Code or if the member is
insolvent. Accordingly, the members of the Debtors may have COD income even though the
Debtors are discharged in a case under Title 11 of the United States Code and are insolvent. The
COD income of each Debtor will flow through the Debtor to the members of the Debtor in
accordance with their respective sharing of such COD income.

        Under the Plan, certain Holders of Claims are expected to receive less than full payment
on their Claims. The Debtor's liability to the Holders of such Claims in excess of the amount
satisfied by Distributions under the Plan will be cancelled and therefore will result in COD income
to the Debtor. To the extent that the consideration issued to Holders of Claims pursuant to the
Plan is attributable to accrued but unpaid interest, the Debtors should be entitled to interest
deductions in the amount of such accrued interest, but only to the extent the Debtors have not
already deducted such amounts. The Debtors should not have COD income from the discharge of
any accrued but unpaid interest pursuant to the Plan to the extent that the payment of such interest
would have given rise to a deduction pursuant to Section 108(e)(2) of the Tax Code. The COD
income of each Debtor will flow through the Debtor to the members of the Debtor in accordance
with their respective sharing of such COD income.

       The precise amount of taxable gain or loss, COD income, or both, which the Debtors or
their members will realize as a result of effectuation of the Plan cannot presently be determined.

                                  Tax Consequences to Creditors

        The U.S. federal income tax consequences of the implementation of the Plan to a creditor
of the Debtors (a “Creditor”) will depend on a number of factors, including the type of
consideration received by the Creditor in exchange for its Claim, whether the Creditor reports
income on the accrual or cash basis, whether the Creditor receives consideration in more than one
tax year of the Creditor, whether the Creditor is a resident of the United States and whether all
consideration received by the Creditor is deemed to be received by that Creditor in an integrated
transaction. The U.S. federal income tax consequences of the receipt of Cash or property that is
allocable to accrued interest are discussed below in the section entitled "Receipt of Interest."

        (a)      Receipt of Cash and Other Property

        A Creditor who receives Cash and/or other property in satisfaction of its Claim generally
will recognize gain (or loss) on the exchange equal to the difference between the amount realized
(not allocable to interest) and the Creditor's adjusted tax basis in its Claim. The character of any
gain or loss as capital or ordinary income or loss and, in the case of capital gain or loss, as short-
term or long-term, will depend on a number of factors, including (i) the nature and origin of the
Claim (e.g., Claims arising in the ordinary course of a trade or business or made for investment


                                                 43
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                           Pg 46 of 55



purposes); (ii) the tax status of the Holder of the Claim; (iii) whether the Claim is a capital asset in
the hands of the Holder; (iv) whether the Claim has been held by the Holder for more than one
year; (v) the extent to which the Holder previously claimed a loss or a bad debt deduction with
respect to the Claim; and (vi) the extent to which the Holder acquired the Claim at a market
discount. Creditors should consult their own tax advisors regarding the amount and character of
gain or loss, if any, to be recognized by them under the Plan.

        (b)      Receipt of Interest

       Pursuant to the Plan, all Distributions in respect of any Claim will be allocated first to the
unaccrued but unpaid interest, and second to the principal (each as determined for U.S. federal
income tax purposes). However, there is no assurance that the IRS will respect such allocation for
U.S. federal income tax purposes.

        A portion of the consideration received by a Holder of a Claim in satisfaction of that Claim
pursuant to the Plan may be allocated to the portion of such Claim (if any) that represents accrued
but unpaid interest. If any portion of the Distribution is required to be allocated to accrued interest,
such portion would be taxable to the Holder as interest income, except to the extent the Holder has
previously reported such interest as income. A Holder will generally recognize a loss to the extent
that any accrued interest was previously included in the Holder's gross income and is not paid in
full.

        In the event that a portion of the consideration received by a Holder of a Claim is treated
by the tax authorities as accrued but unpaid interest (as opposed to principal treatment by such
holder), only the balance of the Distribution would be considered received by the Holder in respect
of the principal amount of the Claim. Such an allocation would reduce the amount of the gain, or
increase the amount of loss, realized by the Holder with respect to the Claim. If any such loss
were a capital loss, it would not offset any amount of the Distribution that was treated as ordinary
interest income (except, in the case of individuals, to the limited extent that capital losses may be
deducted against ordinary income).

       To the extent that any portion of the Distribution is treated as interest, Holders may be
required to provide certain tax information in order to avoid or reduce the withholding of taxes, if
any.

        (c)      Market Discount

         The Tax Code generally requires Holders of debt instruments with “market discount” to
treat as ordinary income any gain realized on the disposition of such debt instruments to the extent
of the market discount accrued during the Holder's period of ownership. “Market discount”
generally means the amount by which the stated redemption price at maturity exceeds the Holder’s
adjusted tax basis in such debt instrument. Holders should consult their own tax advisors as to the
potential application of the market discount rules to them in light of their individual circumstances.

        (d)      Backup Withholding

        Under the Tax Code, interest, dividends and other “reportable payments” may, under
certain circumstances, be subject to “backup withholding.” Backup withholding may apply to

                                                  44
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                          Pg 47 of 55



payments made pursuant to the Plan, unless you provide to the applicable withholding agent your
taxpayer identification number, certified under penalties of perjury, as well as certain other
information, or otherwise establish an exemption from backup withholding. Backup withholding
is not an additional tax. Any amount withheld under the backup withholding rules is allowable as
a credit against your U.S. federal income tax liability, if any, and a refund may be obtained from
the IRS if the amounts withheld exceed your actual U.S. federal income tax liability and you timely
provide the required information or appropriate claim form to the IRS.

     THIS SUMMARY DISCUSSION IS GENERAL IN NATURE AND HAS BEEN
INCLUDED IN THIS DISCLOSURE STATEMENT SOLELY FOR INFORMATIONAL
PURPOSES PURSUANT TO § 1125 OF THE BANKRUPTCY CODE. TH HOLDCO
MAKES NO REPRESENTATIONS CONCERNING, AND DOES NOT HEREBY
PROVIDE, ANY OPINIONS OR ADVICE WITH RESPECT TO THE TAX MATTERS
DESCRIBED HEREIN.

      IN LIGHT OF THE UNCERTAINTY CONCERNING THE TAX
CONSEQUENCES FROM THE RELEVANT PROVISIONS OF FEDERAL AND STATE
TAX LAWS, TH HOLDCO ENCOURAGES EACH DEBTOR, CREDITOR, AND PARTY
IN INTEREST TO CONSIDER CAREFULLY AND CONSULT WITH ITS OWN LEGAL
AND TAX ADVISORS WITH RESPECT TO ALL SUCH MATTERS.

    FOREIGN (i.e., NON-UNITED STATES) CREDITORS ALSO ARE STRONGLY
URGED TO CONSULT WITH THEIR OWN LEGAL AND TAX ADVISORS.

VII.    ALTERNATIVES TO THE PLAN

       The alternative to the Plan would be a conversion of any of the Debtors’ cases from Chapter
11 to Chapter 7 or confirmation of an alternative plan such as the Debtors’ Plan.

        As stated above and as shown in the Liquidation Analysis attached hereto as Exhibit B,
liquidation under Chapter 7 would result in a significant reduction in value given the state of the
current hospitality market, and an additional layer of administrative expenses, including Chapter
7 trustee commissions and fees for professionals retained by the Chapter 7 trustee, including
attorneys, accountants, and brokers. Pursuant to the provisions of the Bankruptcy Code, these
commissions and fees are required to be paid prior to the general unsecured claims.

         The Liquidation Analysis also assumes that the liquidation of each of the Debtors would
commence under the direction of a Court-appointed Chapter 7 trustee and continue for six (6)
months (but with no material going concern operations during the Chapter 7 period), during which
time all of the Debtors’ major assets (mainly consisting of the Hotel Property and Residential
Property) either would be sold or conveyed to the applicable lien holders and the cash proceeds,
net of liquidation-related costs, would be distributed to creditors. Although some assets might be
liquidated in less than six (6) months, other assets could be more difficult to collect or sell, thus
potentially requiring a liquidation period longer than six (6) months. There would be certain
holding costs such as real estate and other taxes, utilities and maintenance until the real estate is
sold.


                                                 45
US_Active\120351770\V-15
20-23280-rdd        Doc 152    Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                           Pg 48 of 55



        Costs of liquidation under Chapter 7 of the Bankruptcy Code would include the
compensation of a Chapter 7 trustee, as well as compensation of counsel and other professionals
retained by the Chapter 7 trustee, asset disposition expenses, all unpaid expenses incurred by the
Debtors in their Chapter 11 Cases (such as compensation of attorneys, financial advisors, and
accountants) that are allowed in the Chapter 7 cases, litigation costs, and holding and other costs
of the Estates during the pendency of the Chapter 11 Cases. There may be additional marketing
expenses and “learning curve” time if these Chapter 11 Cases were converted to Chapter 7. The
Chapter 7 trustee may also attempt to assert a claim to a trustee’s percentage fees.

        Both the Plan proposed by TH Holdco and the Debtors’ Plan provides that the transfer of
the real property shall be exempt from transfer, stamp or similar taxes pursuant to § 1146(a) of the
Bankruptcy Code. That exemption is not available in a Chapter 7 case and TH Holdco believes
the need to pay transfer taxes in a Chapter 7 transfer of the Hotel Property and Residential Property
would materially impact net proceeds or price versus a sale pursuant to a confirmed Chapter 11
plan.

        The Debtors have also proposed the Debtors’ Plan. As discussed earlier in the introductory
section of this Disclosure Statement, TH Holdco asserts that its Plan is better for creditor recoveries
(especially the General Unsecured Creditors in Classes 6 and 8 due to the $200,000 TH Holdco
General Unsecured Dedicated fund) and more likely to be meet all of the confirmation standards
than the Debtors’ Plan.

       Accordingly, TH Holdco asserts that its Plan provides holders of Claims with the best
chance of receiving a greater distribution on account of their respective Allowed Claims and being
confirmed.

VIII. RETENTION OF JURISDICTION

        On and after the Effective Date, the Plan provides that the Bankruptcy Court shall retain
jurisdiction over all matters arising in, arising under, and related to the Chapter 11 Cases for,
among other things, the following purposes:

      (a)    to hear and determine motions and/or applications for the assumption or rejection
of Executory Contracts or Unexpired Leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting there from;

         (b)    to determine any motion, adversary proceeding, application, contested matter, or
other litigated matter pending on or commenced after the Confirmation Date;

       (c)    to insure that distributions to holders of Allowed Claims are accomplished as
provided herein;

       (d)     to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;

      (e)    to enter, implement or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;


                                                  46
US_Active\120351770\V-15
20-23280-rdd        Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26             Main Document
                                            Pg 49 of 55



        (f)      to adjudicate any dispute related to the Sale Transaction;

        (g)   to issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or appropriate to restrain interference by any Person with the Consummation,
implementation or enforcement of the Plan, including the Confirmation Order, or any other order
of the Bankruptcy Court;

        (h)    to hear and determine any application to modify the Plan in accordance with § 1127
of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in the
Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner
as may be necessary to carry out the purposes and effects thereof;

       (i)    to hear and determine all applications under § 330, 331, and 503(b) of the
Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred before the Confirmation Date;

        (j)   to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Purchase/ Agreement, or the Confirmation Order
or any agreement, instrument, or other document governing or relating to any of the foregoing;

       (k)    to take any action and issue such orders as may be necessary to construe, interpret,
enforce, implement, execute, and consummate the Plan or to maintain the integrity of the Plan
following Consummation;

       (l)    to determine such other matters and for such other purposes as may be provided in
the Confirmation Order;

       (m)     to hear and determine matters concerning state, local and federal taxes in
accordance with §§ 346, 505 and 1146 of the Bankruptcy Code (including any requests for
expedited determinations of the Debtors’ tax liability under § 505(b) of the Bankruptcy Code);

      (n)    to adjudicate, decide or resolve any and all matters related to § 1141 of the
Bankruptcy Code;

        (o)      to adjudicate any and all disputes arising from or relating to distributions under the
Plan;

      (p)    to hear and determine any other matters related hereto and not inconsistent with the
Bankruptcy Code and title 28 of the United States Code;

        (q)      to enter a final decree closing any of the Chapter 11 Cases;

        (r)      to enforce all orders previously entered by the Bankruptcy Court;

       (s)       to recover all assets of the Debtors and property of the Debtors’ Estates, wherever
located; and




                                                  47
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26         Main Document
                                          Pg 50 of 55



        (t)    to hear and determine any rights, Claims or Causes of Action held by or pursuant
to the Bankruptcy Code or pursuant to any federal statute or legal theory to the extent they are
expressly preserved under the Plan.

                           [Remainder of Page Intentionally Left Blank]




                                               48
US_Active\120351770\V-15
20-23280-rdd      Doc 152     Filed 02/20/22 Entered 02/20/22 17:11:26              Main Document
                                          Pg 51 of 55



IX.      CONCLUSION

        TH Holdco believes that Confirmation and Consummation of the Plan are in the best
interests of the Debtors, their Estates and their creditors. The Plan provides for an equitable
distribution to holders of Claims and Interests. TH Holdco believes that any alternative to
Confirmation of the Plan, such as liquidation under Chapter 7 of the Bankruptcy Code, could result
in significant delay, litigation, and additional costs, as well as a reduction in the distributions to
holders of Claims in certain Classes. Consequently, TH Holdco urges all eligible holders of
Impaired Claims and Interests to vote to ACCEPT the Plan and to complete and submit their
Ballots so that they will be RECEIVED on or before the Voting Deadline.

Dated:         New York, New York
               February 20, 2022

                                               TH Holdco LLC

                                               /s/
                                               Authorized Signatory
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26   Main Document
                                          Pg 52 of 55



                                         EXHIBIT A

                              Chapter 11 Plan Filed by TH Holdco




                                             50
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26   Main Document
                                          Pg 53 of 55



                                        EXHIBIT B

                                    Liquidation Analysis




                                             51
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26   Main Document
                                          Pg 54 of 55



                                        EXHIBIT C

     Summary of Claims by Estate (Both Scheduled Claims and Filed Proofs of Claim)




                                             52
US_Active\120351770\V-15
20-23280-rdd        Doc 152   Filed 02/20/22 Entered 02/20/22 17:11:26   Main Document
                                          Pg 55 of 55



                                        EXHIBIT D

       Redline Showing Differences Between Chapter 11 Plan Filed by TH Holdco on
     February 20, 2022 and Chapter 11 Plan filed by the Debtors on November 24, 2021




                                             53
US_Active\120351770\V-15
